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            EXHIBIT B
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                                                                        Page 1

   1                   UNITED STATES DISTRICT COURT
                        MIDDLE DISTRICT OF FLORIDA
   2                          TAMPA DIVISION
          - - - - - - - - - - - - - - - - - -
   3      WYNDHAM VACATION OWNERSHIP,
          INC.; WYNDHAM VACATION
   4      RESORTS, INC.; WYNDHAM RESORT
          DEVELOPMENT CORPORATION;
   5      SHELL VACATIONS, LLC;
          SVC-WEST, LLC; SVC-AMERICANA,
   6      LLC; and SVC-HAWAII, LLC,
   7              Plaintiffs,
                                        No. 8:19-cv-1895-CEH-CPT
   8      vs.
   9      THE MONTGOMERY LAW FIRM, LLC;
          MONTGOMERY & NEWCOMB, LLC;
  10      M. SCOTT MONTGOMERY; W. TODD
          NEWCOMB; CLS, INC. d/b/a
  11      ATLAS VACATION REMEDIES and
          also d/b/a PRINCIPAL TRANSFER
  12      GROUP; ATLAS VACATION REMEDIES,
          LLC; PRINCIPAL TRANSFER
  13      GROUP, LLC; DONNELLY SNELLEN;
          JASON LEVI HEMINGWAY; MUTUAL
  14      RELEASE CORPORATION a/k/a
          417 MRC LLC; DAN CHUDY;
  15      MATTHEW TUCKER; and CATALYST
          CONSULTING FIRM, LLC,
  16
                   Defendants.
  17      - - - - - - - - - - - - - - - - - -/
              VIDEOTAPED DEPOSITION OF TIMOTHY P. CHINARIS
  18                 (Conducted via videoconference)
  19         DATE:                     OCTOBER 4, 2021
             TIME:                     9:05 a.m. - 12:06 p.m.
  20         PURSUANT TO:              Notice by counsel for
                                       Defendants for purposes of
  21                                   discovery, use at trial or
                                       such other purposes as are
  22                                   permitted under the Florida
                                       Rules of Civil Procedure
  23         REPORTED BY:              Lee Ann Reid, Registered
                                       Professional Reporter,
  24                                   Notary Public, State of
                                       Florida
  25                              Pages 1 - 112

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   1      APPEARANCES:
   2      MICHAEL J. QUINN, ESQUIRE
          Shutts & Bowen LLP
   3      300 S. Orange Avenue, Suite 1600
          Orlando, Florida 32801
   4         Attorney for the Plaintiffs
   5      CHRISTIAN W. WAUGH, ESQUIRE
          Waugh Grant PLLC
   6      201 E. Pine Street, Suite 315
          Orlando, Florida 32801
   7         Attorney for the Lawyer Defendants
   8      ALSO PRESENT:      Michael Montalvo, Videographer
                             Scott Montgomery
   9
                             I N D E X
  10
          DIRECT EXAMINATION BY MR. WAUGH                 Page 4
  11
          CROSS-EXAMINATION BY MR. QUINN                  Page 92
  12
          REDIRECT EXAMINATION BY MR. WAUGH               Page 105
  13
          RECROSS-EXAMINATION BY MR. QUINN                Page 106
  14
          CERTIFICATE OF OATH                             Page 109
  15
          REPORTER'S CERTIFICATE                          Page 110
  16
          ERRATA PAGE                                     Page 111
  17
          READ AND SIGN LETTER                            Page 112
  18
                           E X H I B I T S
  19      Description                            Page
  20      Defendant Exhibit 1    notice           6
          Defendant Exhibit 2    CV               7
  21      Defendant Exhibit 3    expert report    15
          Defendant Exhibit 4    addendum to      18
  22         report
          Defendant Exhibit 5    complaint        50
  23      Defendant Exhibit 6    Final Report of 62
             the Special Committee
  24      Defendant Exhibit 7    Chapter 4: Rules 69
             of Professional Conduct
  25

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   1                  THE VIDEOGRAPHER:      Good morning.       We are now
   2           on the video record.       My name is Michael Montalvo,
   3           the videographer, on behalf of Veritext Legal
   4           Solutions.    This is the deposition of Timothy
   5           Chinaris in the matter of Wyndham Vacation
   6           Ownership, LLC versus the Montgomery Law Firm,
   7           LLC.    Today is Monday, October 4 of 2021.           And the
   8           time is 9:05 a.m.
   9                  May counsel please introduce themselves for
  10           the record.    And after this the court reporter
  11           will swear in the witness.
  12                  MR. WAUGH:   I'm Christian Waugh on behalf of
  13           the Defendants and Counter Plaintiffs Scott
  14           Montgomery, Todd Newcomb, Montgomery and Newcomb
  15           Law, and the Montgomery Law Firm.
  16                  MR. QUINN:   Good morning.          This is Michael
  17           Quinn on behalf of the Plaintiffs.
  18                  THE COURT REPORTER:       The attorneys
  19           participating in this deposition acknowledge that
  20           I, the court reporter, am not present with the
  21           witness and that I will be reporting the
  22           proceedings and administering the oath remotely.
  23           This arrangement is pursuant to the Florida
  24           Supreme Court Administrative Order No. AOSC-20-16
  25           (and extended by AOSC-20-17).            The parties and

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   1           their counsel consent to this arrangement and
   2           waive any objections to this manner of reporting.
   3           Please indicate your agreement by stating your
   4           name and your agreement on the record starting
   5           with Plaintiff counsel.
   6                  MR. QUINN:   Michael Quinn, I agree.
   7                  MR. WAUGH:   And this is Christian Waugh.          I
   8           agree as well.
   9                  (At this juncture, the witness was sworn.)
  10                          TIMOTHY P. CHINARIS,
  11      the witness herein, being first duly sworn on oath, was
  12      examined and deposed as follows:
  13                           DIRECT EXAMINATION
  14      BY MR. WAUGH:
  15           Q.     Good morning, sir.       My name is Christian
  16      Waugh and I'm an attorney from the Waugh Grant law firm
  17      on behalf of Scott Montgomery, Todd Newcomb, the
  18      Montgomery Law Firm and Montgomery & Newcomb, LLC, who
  19      I will be calling the lawyer defendants in this
  20      deposition.     Does that make sense to you?
  21           A.     Yes.
  22           Q.     Sir, can you please state your full name and
  23      spell your last name for the record, please.
  24           A.     Timothy Patrick Chinaris.           The last name is
  25      spelled C-H-I-N-A-R-I-S.

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   1           Q.     And so I pronounce that Chinaris?
   2           A.     Chinaris, correct.
   3           Q.     Have you had your deposition taken before?
   4           A.     Yes.
   5           Q.     The only thing I'd add to the customary
   6      rules, if you will, is that I'm happy to take a break
   7      whenever you want and I would just ask that you let me
   8      know if you need a break.          Is that okay?
   9           A.     Yes, thank you.
  10           Q.     Do you have any medical conditions or are you
  11      taking any medications that you believe would affect
  12      your testimony today?
  13           A.     No.
  14           Q.     Why are you here today?
  15           A.     I got a subpoena from your firm to take my
  16      deposition.
  17           Q.     Okay.    And what I'm going to do is I'm going
  18      to show a document that I have already put into the --
  19      I'm going to try to share a document.                Let's see if I
  20      can figure it out.      Nope.      That's not quite what I was
  21      looking for.       Hold on one second.
  22                  Okay.    Mr. Chinaris, can you see a document
  23      on your screen that has this United States District
  24      Court, Middle District of Florida, Tampa Division
  25      caption on it?

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   1           A.     Yes, I do.
   2           Q.     All right.   I'm going to scroll down to the
   3      title of it where it says Notice of Taking the Audio
   4      Video Deposition of Plaintiffs Expert Timothy Chinaris.
   5      Do you see that?
   6           A.     Yes, I do.
   7           Q.     I'm going to take a moment -- actually I
   8      would like you to review this paragraph and let me know
   9      when you're done.
  10           A.     I'm done.
  11           Q.     I'm going to scroll down so you can read the
  12      rest of it.     Can you just let me know when you're done
  13      reviewing this.
  14           A.     Yes.   I'm done.
  15           Q.     Is this the document that you were referring
  16      to earlier as the reason why you're here?
  17           A.     Yes.
  18           Q.     Thank you, sir.     I'll have this as Exhibit 1.
  19                  (Defendant Exhibit 1 was marked for
  20           identification.)
  21      BY MR. WAUGH:
  22           Q.     And is it your understanding that you're here
  23      to offer opinion testimony on behalf of Plaintiffs
  24      today?
  25           A.     Yes.

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   1           Q.     Have you been retained by all the Plaintiffs
   2      in this case?
   3           A.     I was retained by the law firm for the
   4      Plaintiffs.
   5           Q.     Okay.   And is it your understanding that
   6      you'll be offering opinion testimony on behalf of all
   7      Plaintiffs today?
   8           A.     I believe so.
   9           Q.     Okay.   All right.     I am now going to copy --
  10      for the record, I have established a Dropbox folder
  11      where I will attempt to share the exhibits with
  12      opposing counsel and indeed, Mr. Chinaris, if he wishes
  13      to click on the link in the chat.             And I'm copying the
  14      file, putting it into the folder now.
  15                  Now, in the folder and I will share it --
  16                  MR. WAUGH:   Mr. Quinn, are you able to see
  17           what I have as Exhibit 2?
  18                  (Defendant Exhibit 2 was marked for
  19           identification.)
  20                  MR. QUINN:   Yes.
  21      BY MR. WAUGH:
  22           Q.     Mr. Chinaris, can you see the document that
  23      has your name at the top of it?
  24           A.     Yes.
  25           Q.     Do you recognize this document just from what

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   1      you can see?
   2           A.     Looks like my CV.
   3           Q.     Did you create this document?
   4           A.     Yes.
   5           Q.     Do you know when you last -- well, let me ask
   6      you this:     Is this the document that you periodically
   7      update for new publications and qualifications?
   8           A.     Yes.
   9           Q.     Do you know when the last time was that you
  10      updated this document?
  11           A.     No, I don't.     I have to look further down.         I
  12      could probably tell you at that point.
  13           Q.     All right.    So is this Associate Dean for
  14      Information Services and Professor of Law position at
  15      Belmont University College of Law your current
  16      employment?
  17           A.     Yes, it is.
  18           Q.     Then is an appropriate form of address for
  19      you the term Dean?
  20           A.     Dean or professor.         Whatever you prefer.
  21           Q.     Thank you, sir.       And so before you worked as
  22      the Associate Dean for Information Services and
  23      Professor of Law, you were the Associate Dean for
  24      Academic Affairs and Professor of Law?
  25           A.     Yes.

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   1           Q.     Did your duties as a professor of law change
   2      from 2014 until now?
   3           A.     No.    The professor duties didn't change.
   4           Q.     And I would like to ask you just to briefly
   5      review this first page here and let me know when you're
   6      done.
   7           A.     I am done.
   8           Q.     Is everything here accurate?
   9           A.     Yes.
  10           Q.     Okay.    I'm going to scroll to Page 2.        I'm
  11      basically going to go through the same process.              I'm
  12      going to ask you to review all these pages and just let
  13      me know if there's any changes or modifications that
  14      you think you would want to make.
  15                  MR. QUINN:   I'm going to object to the form
  16           of the question.      To the extent that you believe
  17           that there's some discrepancy with the CV, then
  18           provide him the opportunity to address it.
  19                  MR. WAUGH:   That's not the question.
  20      BY MR. WAUGH:
  21           Q.     Mr. Chinaris, please let me know once you've
  22      had a chance to finish reviewing it.
  23           A.     Yes, I have reviewed it.
  24           Q.     All right.   Is there anything inaccurate on
  25      here?

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   1           A.     No.
   2           Q.     Going down to the Selected Publications,
   3      again, let me know when you're done reviewing what you
   4      can see on the screen.
   5           A.     I'm done.
   6           Q.     Is there anything that's missing from here in
   7      terms of -- actually strike that.
   8                  Is there anything here that's inaccurate?
   9           A.     No.   I don't think so.
  10           Q.     All right.   You mention sunEthics.com.          Can
  11      you tell me a little bit about sunEthics?
  12           A.     It's a website that I operate that is
  13      designed to be a general information legal ethics
  14      website for Florida, but it also has links to ethics
  15      authorities in all 50 states, the Rules of Professional
  16      Conduct, ethics opinions, judicial opinions, things
  17      like that.     It's basically just an informational site.
  18           Q.     Is the format inspired by the Drudge Report?
  19           A.     No.   The format is inspired by my technical
  20      abilities.     And that's all I can do and I'm very
  21      pleased to say I do it all myself, so responsible for
  22      good and bad.
  23           Q.     More than I can say.         And so is it a website
  24      that you continue to update to this day?
  25           A.     Periodically, yeah.        Several times a week I

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   1      add something to it.
   2           Q.     Do you have a subscriber list or anything for
   3      this website?
   4           A.     No.    I don't have anything like that or --
   5      and I don't charge for anything on it either.              It's
   6      just informational.
   7           Q.     I'm now scrolling down.           It lists several
   8      other publications.      Here's a list of your professional
   9      activities on Page 4.       Does this still look like the
  10      same CV that you're familiar with and that you created?
  11           A.     Yes.
  12           Q.     I'm going to scroll down to Academic
  13      Presentations.       You listed several between 2021 and
  14      2005 on this page.      Does this all seem to be accurate
  15      to you?
  16           A.     Yes, except for the second one has been
  17      presented, but it sort of tells us the date here was
  18      before August.
  19           Q.     I'm just going to go down to the end.           You
  20      list presented Ten Common Centrals to Guide You Through
  21      Ethical Minefields of the 1990s during a 1991 Ethics
  22      Seminar sponsored by Stetson University College of Law.
  23      Do you see that?
  24           A.     Yes.
  25           Q.     Is that the earliest professional

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   1      presentation on ethics that you presented?
   2           A.     Probably not, but it's the earliest one
   3      listed here.
   4           Q.     Having scrolled through all ten pages, I know
   5      I didn't give you a chance to examine every portion of
   6      it, but does this look like a fair and accurate
   7      representation of the CV that you submitted for this
   8      case?
   9           A.     Yes.
  10           Q.     Okay.    Let me ask you about your education.
  11      So you have three formal education degrees; is that
  12      right?
  13           A.     Higher education degrees, yes.
  14           Q.     And in your Bachelor of Science cum laude in
  15      business administration from FSU, did you receive
  16      formal training in ethics as a part of your course of
  17      study for that degree?
  18           A.     You know, I don't remember any ethics courses
  19      that were offered as part of that.
  20           Q.     Did you as part of your law degree at the
  21      University of Texas?
  22           A.     Yes.    We had a professional responsibility
  23      course.
  24           Q.     Was there anything beyond the professional
  25      responsibility course?

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   1           A.     Not that I remember.
   2           Q.     Did you enjoy that course?
   3           A.     I liked the course, yeah.             I liked the
   4      course.
   5           Q.     How about in your Master's of Science in
   6      library information studies from FSU?                 As a part of
   7      that course of study is there any training in ethics or
   8      legal ethics?
   9           A.     No.   Certainly not in legal ethics.             I don't
  10      remember if we addressed ethics in any of the courses
  11      or not.
  12           Q.     And where does your expertise in ethics come
  13      from?
  14           A.     Well, I don't know if I'd use the word
  15      expertise, but I certainly have a lot of experience in
  16      it, mostly from serving as Ethics Director of the
  17      Florida Bar, serving on a lot of bar ethics-related
  18      committees and advising and practicing in the area of
  19      ethics professional responsibility, and other related
  20      subjects for the last -- I guess since the mid 80s.
  21      Thirty years or so.
  22           Q.     So you just said, I believe, that you don't
  23      know if you could use the word expertise; correct?
  24                  MR. QUINN:   Object to form.
  25                  THE WITNESS:     Yes.

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   1      BY MR. WAUGH:
   2            Q.     And that's a word that has some significance
   3      in the ethics rules; correct?
   4                   MR. QUINN:    Object to form.
   5                   THE WITNESS:     In some of the rules, yes, it
   6      does.
   7      BY MR. WAUGH:
   8            Q.     What is the significance of that word in the
   9      Florida professional rules?
  10            A.     Well, historically it's been limited to
  11      people that were board certified.
  12            Q.     But that rule has changed; correct?
  13            A.     Yeah.   Yes, some states I think still have
  14      it.
  15            Q.     So I got my board certification on real
  16      estate for nothing; right?
  17            A.     No, no, no.     It's a great credential.
  18            Q.     That's how I felt, but -- at any rate --
  19            A.     They don't offer one in ethics, by the way.
  20            Q.     So because we're talking about ethics today,
  21      I guess I'm just trying to -- I'm sensitive to the
  22      issue.      So why wouldn't you use the word expertise
  23      given this CV?
  24            A.     Others do.    I guess I won't argue with it.         I
  25      just -- it sounds a little like bragging to me.

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   1           Q.     Do you have any licenses or certifications in
   2      ethics or legal ethics?
   3           A.     No.
   4           Q.     Do you know if any exist?
   5           A.     I think the State of California offers some
   6      kind of certification for legal ethics and malpractice
   7      experts, but that's the only one I can think of.
   8           Q.     Okay.   Now, I'm going to copy another
   9      document into the exhibits folder.               It is pasted.   I
  10      will now share it.
  11                  (Defendant Exhibit 3 was marked for
  12           identification.)
  13      BY MR. WAUGH:
  14           Q.     Mr. Chinaris, can you see a document that I
  15      have shared on your screen with, you know, United
  16      States District Court caption on it?
  17           A.     Yes.
  18           Q.     Case No. 8:19-cv-1895?
  19           A.     Yes.
  20           Q.     And I'm scrolling down to page 2 wherein
  21      there appears to be a titled report of Timothy P.
  22      Chinaris.     Do you see that he?
  23           A.     Yes, I do.
  24           Q.     For the record, I don't know if I said it,
  25      but I would like the CV to be Exhibit 2.               This I'll

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   1      eventually ask to be Exhibit 3.              Mr. Chinaris, do you
   2      recognize this document?
   3            A.    Yes.    It looks like the expert report that I
   4      prepared for this case.
   5            Q.    Okay.    Have you produced any expert -- any
   6      other expert reports that begin with everything you see
   7      on the screen besides the one that you created for this
   8      case?
   9            A.    Produced in the sense of response to a
  10      request for production, discovery production, or --
  11            Q.    How many expert reports have you created for
  12      Plaintiffs?
  13            A.    I think there have been three.            Well, okay.
  14      For these Plaintiffs, two.
  15            Q.    Okay.
  16            A.    There's another case.
  17            Q.    Are those reports identical on the -- excuse
  18      me.    Reviewing what you can on the screen, is the text
  19      that you see identical on both of those reports?
  20                  MR. QUINN:   Object to form.
  21                  THE WITNESS:     I don't remember.
  22      BY MR. WAUGH:
  23            Q.    You don't remember?
  24            A.    I don't remember.        I would have to look at
  25      it.    I mean, I'm sure the format is similar.

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   1           Q.      And just so you know, when there's pauses,
   2      what I'm doing is I'm reviewing the exhibits or my
   3      notes.      I appreciate your patience.
   4           A.      No problem.
   5           Q.      All right.    Mr. Chinaris, can you review
   6      everything on the screen and let me know when you're
   7      done.
   8                   MR. QUINN:    For the record, on the screen is
   9           Page 2 of Exhibit 3?
  10                   MR. WAUGH:    I'll make that clear.
  11                   THE WITNESS:     Okay.      I have done that.
  12      BY MR. WAUGH:
  13           Q.      Mr. Chinaris, you have reviewed a portion of
  14      Page 2 of your report; correct?
  15           A.      Yes.
  16           Q.      And it shows paragraphs No. 1 through 5;
  17      correct?
  18           A.      Right.
  19           Q.      All right.    I'm now scrolling down to show
  20      paragraphs 6 through 8.          Can you review those and let
  21      me know when you're done.
  22           A.      I'm done.
  23           Q.      I'm now showing you the second part of
  24      paragraph 8 and all the way down to paragraph 12.              Can
  25      you review and let me know when you're done.

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   1           A.     I'm done.
   2           Q.     So far is this a fair and accurate
   3      representation of the report you delivered in this
   4      case?
   5           A.     Yes.
   6           Q.     Now, showing you paragraphs 13 and 14.             Can
   7      you review and let me know when you're done.
   8           A.     I'm done.
   9           Q.     Now, I would like to ask you to look at 15
  10      through 17 and let me know when you're done.
  11           A.     I'm done.
  12           Q.     Again, so far have you seen anything in this
  13      report that is not what you recall producing as a part
  14      of your report in this case?
  15           A.     No, I have not.
  16           Q.     So far have you reviewed anything inaccurate
  17      in those paragraphs 1 through 17?
  18           A.     I don't think so.
  19           Q.     All right.   We're going to come back to that,
  20      but first I want to go to another document that I'm
  21      copying into the Dropbox folder.              Copied.
  22                  (Defendant Exhibit 4 was marked for
  23           identification.)
  24      BY MR. WAUGH:
  25           Q.     I'm now sharing it.        All right.       I'm going to

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   1      Page 2 of that document, Dean Chinaris.              Can you see a
   2      document that has the title Addendum to Report of
   3      Timothy P. Chinaris?
   4           A.     Yes.
   5           Q.     Do you recall drafting an addendum to your
   6      expert report in this case?
   7           A.     Yes.
   8           Q.     Based on what you can see on the screen,
   9      which is the title, all the way down to the first line
  10      that says Wyndham Vacation Ownership v. Reed Hein and
  11      Associates, does this look like an accurate
  12      reproduction of that addendum?
  13           A.     Yes, it does.
  14           Q.     I'm going to scroll down and now you can see
  15      everything from the addendum.            Does this look like a
  16      fair and accurate representation of your addendum?
  17           A.     Yes, it does.
  18           Q.     Why did you draft this addendum?
  19           A.     I was asked to do that because I believe
  20      that's part of what you're supposed to submit as a
  21      report; Your compensation and your prior testimony.
  22           Q.     Do you remember when you were retained as an
  23      expert witness in this case?
  24           A.     No.    I think it was sometime this current
  25      calendar year, but I don't remember the exact date.

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   1           Q.     Do you recall if it was before the summer?
   2           A.     Probably near the beginning of summer or a
   3      little before.      I'm just not sure.
   4           Q.     Are there any documents that exist that would
   5      help refresh your recollection of when you were
   6      retained?
   7           A.     Yes.   I'm sure there's a letter, a retention
   8      letter, at the beginning of this.
   9           Q.     So I noticed this case here on your addendum,
  10      Wyndham Vacation Ownership v. Reed Hein and Associates.
  11      Do you see that?
  12           A.     Yes, I do.
  13           Q.     Do you recall drafting and providing to
  14      Shutt's counsel a copy of your expert report in that
  15      case?
  16           A.     Yes.
  17           Q.     Were you deposed in that case?
  18           A.     Yes.
  19           Q.     Are you aware of whether or not a Daubert
  20      motion was filed to exclude your testimony in this
  21      case?
  22                  MR. QUINN:   Object to form.
  23                  THE WITNESS:     No, I'm not.
  24      BY MR. WAUGH:
  25           Q.     So would it be fair to say -- I mean, have

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   1      you reviewed any Daubert motion to exclude your
   2      testimony from that case?
   3                  MR. QUINN:   Object to form.
   4                  THE WITNESS:     No, I have not.
   5      BY MR. WAUGH:
   6           Q.     Are you interested in reviewing a Daubert
   7      motion to exclude your testimony in this case?
   8                  MR. QUINN:   Object to form.
   9                  THE WITNESS:     I don't know.            I'm not sure.
  10      BY MR. WAUGH:
  11           Q.     Why are you not sure?
  12                  MR. QUINN:   Object to form.
  13                  THE WITNESS:     I don't know.            I just -- I
  14           don't know.    Just having people fight over whether
  15           I could testify just makes me feel a little
  16           uncomfortable I guess.
  17      BY MR. WAUGH:
  18           Q.     Do you know what the purpose of a Daubert
  19      motion is?
  20                  MR. QUINN:   Object to form.
  21                  THE WITNESS:     I believe it's to exclude
  22           proffered expert testimony.
  23      BY MR. WAUGH:
  24           Q.     Are you familiar with what the Daubert
  25      standard is?

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   1           A.     Very generally I guess, but I know it's a
   2      standard for admission of expert testimony.
   3           Q.     If a Defendant in that case claimed that you
   4      didn't use reliable principles in your opinion
   5      testimony or that you did not apply those principles
   6      reliably, would you want to know what their basis for
   7      that assertion is?
   8                  MR. QUINN:   Object to form.              Relevance.
   9                  THE WITNESS:     Well, I guess I would be
  10           interested in it.
  11      BY MR. WAUGH:
  12           Q.     Do you think it might be a learning
  13      opportunity?
  14                  MR. QUINN:   Object to form.
  15                  THE WITNESS:     It might if it came up again.
  16      BY MR. WAUGH:
  17           Q.     Now, did you charge the same amount for your
  18      expert report in that case as in this case?
  19           A.     I bill for my time at the same rate.               I don't
  20      know if it took the same amount of time or not.
  21           Q.     Which report did you draft first?
  22           A.     I believe it was the report listed there in
  23      the Reed Hein and Associates case.
  24           Q.     There are large portions -- well, let me ask
  25      you this:     Are you aware of whether or not the reports

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   1      share a large portion of content?
   2           A.     Well, I assume the first part of it certainly
   3      would be the same.       My history and background and all
   4      that.
   5           Q.     Have you had any discussions with Wyndham or
   6      Shutts about being retained for other cases?
   7                  MR. QUINN:    Object to form.
   8                  THE WITNESS:     I --
   9                  MR. QUINN:    Wait one second, Tim.       Are you
  10           asking him about conversations that we would have
  11           had about other cases related to potential -- him
  12           as a potentially non-testifying expert?
  13                  MR. WAUGH:    As a non-testifying expert?
  14                  MR. QUINN:    Right.
  15                  MR. WAUGH:    No.
  16                  MR. QUINN:    Okay.      So the question is
  17           specifically to him as a testifying expert?
  18                  MR. WAUGH:    Right.
  19                  MR. QUINN:    Yeah.      Answer that, Tim.
  20                  THE WITNESS:     I have not talked to Wyndham.
  21           I have talked to the Shutts people about that.
  22      BY MR. WAUGH:
  23           Q.     Are you aware of whether or not you have been
  24      disclosed as an expert witness in any other case that
  25      is being brought against the lawyer defendants?

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   1            A.    I believe there's one other case that I know
   2      of.
   3            Q.    Do you know who the Plaintiffs are in that
   4      case?
   5            A.    I think it's the Bluegreen Vacation Company.
   6            Q.    Is your expert report in that case going to
   7      be essentially identical to your expert report in this
   8      case?
   9                  MR. QUINN:   Object to form.
  10                  THE WITNESS:     I'm sure it's going to be
  11            pretty similar.
  12      BY MR. WAUGH:
  13            Q.    What would be different about it?
  14            A.    I couldn't tell you without looking at it,
  15      but I try to review everything related to a case and
  16      prepare the report based on the case.                 So there might
  17      be differences based on information that I was aware of
  18      in one case and not another or changes in format.
  19      After thinking about something, I might be more clear
  20      if you put it one way versus another, things like that
  21      that hopefully you do when you prepare documents.
  22            Q.    Have you ever served as an expert witness for
  23      a party in opposition to Plaintiffs?
  24            A.    Not that I know of.
  25            Q.    Have you ever served as an expert witness

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   1      offering opinion testimony for any party in opposition
   2      to any timeshare developer?
   3                  MR. QUINN:   Object to form.
   4                  THE WITNESS:     Not that I can recall.
   5      BY MR. WAUGH:
   6           Q.     How have you prepared for this deposition
   7      today?
   8           A.     Reading materials, researching, thinking
   9      about it and talking to counsel for the Plaintiffs.
  10           Q.     Which counsel for Plaintiffs did you talk to,
  11      without telling me any -- I'm not interested in the
  12      content.
  13           A.     Mr. Quinn, Mr. Hart, and I can't remember the
  14      other gentleman's name at this point.                 There was
  15      another male lawyer on the phone call.
  16           Q.     About how long did you chat with Mr. Quinn or
  17      Mr. Hart?
  18           A.     I don't remember.        Maybe an hour and a half,
  19      hour to an hour and a half or so.
  20           Q.     What research did you do in preparation for
  21      this deposition?
  22           A.     Review the materials, looked at rules of
  23      ethics, looked at cases, ethics opinions, that type of
  24      thing.
  25           Q.     Did you review any materials authored by

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   1      Michael Downey in preparation for this deposition?
   2           A.     Yes.    I did see a report from him.           I
   3      reviewed that.
   4           Q.     As we sit here today do you have any notes or
   5      memoranda in front of you?
   6           A.     Yes.    I've got a whole pile of things on my
   7      desk here.
   8           Q.     Are they related to this case?
   9           A.     Yes, most of them.
  10           Q.     Okay.    What do you have in front of you?
  11           A.     I've got a couple of binders with
  12      depositions.       I've got some pleadings, a lot of which
  13      are listed in the materials reviewed.                I've got a copy
  14      of my report.       I think the opposing expert's report in
  15      that other case that you mentioned is somewhere here as
  16      well.
  17           Q.     Can you tell me about those binders, the
  18      depositions?       What depositions are in there?
  19           A.     Depositions of Mr. Montgomery and
  20      Mr. Newcomb.
  21           Q.     Are those the only depositions in the
  22      binders?
  23           A.     Yes.
  24           Q.     Do those binders also have the exhibits from
  25      those depositions?

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   1           A.     Some of the exhibits.          I don't know if it's
   2      all of them.
   3           Q.     So I'm now going back to Exhibit 3.          So I
   4      have left off in chatting right before paragraph 18,
   5      and now I would like to ask you if you can review
   6      paragraph 18 and let me know when you're done.
   7           A.     Yes, I am finished.
   8           Q.     All right.   So at the time that you drafted
   9      this report, had you reviewed any deposition
  10      transcripts of Todd Newcomb or Scott Montgomery?
  11           A.     No.    I don't think so.
  12           Q.     And if you had, it would have been mentioned
  13      in your report; correct?
  14           A.     Yes.    I tried to list everything I had at the
  15      time.
  16           Q.     Have you had a chance to review those
  17      depositions of Scott Montgomery and Todd Newcomb now?
  18           A.     Yes.
  19           Q.     Do those in any way alter the conclusions of
  20      your report?
  21           A.     Generally, no.
  22           Q.     How many of the -- strike that.
  23                  Have you reviewed the deposition transcripts
  24      of any owners of Wyndham timeshare interests from this
  25      case?

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   1           A.     No.
   2           Q.     Have you reviewed the deposition transcripts
   3      of any Wyndham owners from any Wyndham lawsuit?
   4           A.     I don't believe so.
   5           Q.     Of the materials reviewed in paragraph 18,
   6      how many contain verified statements or testimony from
   7      Wyndham timeshare owners?
   8           A.     I'm not sure about the verified part, but
   9      there are some information relating to the timeshare
  10      owners, the ones that are listed there I guess.
  11           Q.     All right.   Let's go through paragraph 18.
  12      Are you aware of whether or not either the Wyndham's
  13      complaint in this case or Defendant's supplemental
  14      interrogatory answers contain sworn statements from
  15      Wyndham timeshare owners?
  16           A.     I don't recall.
  17           Q.     Do you know who Jeffrey Chavez is?
  18           A.     From what -- yes.        I think he was a person
  19      that was involved in some of the -- the presentations
  20      and the preparation of marketing materials.
  21           Q.     Do you know if he's a Wyndham timeshare
  22      owner?
  23           A.     No, I don't.
  24           Q.     Do you know if he suffers from any medical
  25      conditions that affect his memory?

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   1           A.     I believe I saw that mentioned in Mr. -- it
   2      might have been Mr. Montgomery's deposition, that he
   3      made a statement to that effect.
   4           Q.     Who is Mary Clapp, C-L-A-P-P?
   5           A.     Mary Clapp is a lawyer who was involved with
   6      the timeshare exit companies prior to the Montgomery &
   7      Newcomb firms being involved.
   8           Q.     Are you aware of whether or not Mary Clapp
   9      has a settlement agreement with Wyndham?
  10                  MR. QUINN:   Object to form.
  11                  THE WITNESS:     No, I'm not.
  12      BY MR. WAUGH:
  13           Q.     Who is Patrice Hays?
  14           A.     I believe she was a timeshare owner.          I
  15      believe was a Florida resident.
  16           Q.     Do you know if she has been represented by
  17      Montgomery & Newcomb?
  18           A.     I believe there was -- I think I saw that in
  19      her declaration.      I'm not positive, but I think so.
  20           Q.     Who is Jason Hemingway?
  21           A.     He was the owner or a principal in, I guess,
  22      he was the principal transfer group, one of the
  23      entities that was involved in marketing the services to
  24      timeshare owners.
  25           Q.     Besides this declaration, have you reviewed

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   1      any sworn testimony or verified statements from Jason
   2      Hemingway?
   3                  MR. QUINN:   Object to form.             Mr. Hemingway's
   4      deposition was taken like three days ago, so there
   5      would be no way for him to have that.
   6                  MR. WAUGH:   -- and it's an improper speaking
   7      objection.
   8      BY MR. WAUGH:
   9           Q.     Mr. Chinaris, can you answer the question?
  10                  MR. QUINN:   Yeah.      Same objection.         It
  11           mischaracterizes the posture of the case.
  12           Deposition was taken three days ago.
  13                  MR. WAUGH:   It does not.          It doesn't matter
  14           whether the deposition was taken 45 minutes ago or
  15           not.    He's either seen it or he hasn't.              Your
  16           objection is improper and it's an improper
  17           speaking objection that, unfortunately, I've come
  18           to expect, but --
  19      BY MR. WAUGH:
  20           Q.     Dean Chinaris, do you remember the question?
  21           A.     Yes, and the answer I think is no.
  22           Q.     Okay.   Who is Dennis Polvak?
  23           A.     A timeshare owner.
  24           Q.     Do you know if Dennis Polvak -- well,
  25      actually, let me ask you this:             Why is Sharon in

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   1      brackets?
   2           A.     Well, because the title of the declaration
   3      was Dennis Polvak, but it appeared that Sharon was the
   4      one that actually prepared it and I think signed it.
   5           Q.     Were either Dennis or Sharon owners of
   6      Wyndham timeshare interests?
   7           A.     I believe they were timeshare owners.
   8           Q.     Do you know if they were represented by
   9      Montgomery & Newcomb?
  10           A.     I believe they were purported to be
  11      represented by them, but I think they're the ones who
  12      said that a letter was sent on their behalf to the
  13      timeshare company without their authorization.             So I'm
  14      not sure how to answer the question, but that's the
  15      information I recall.
  16           Q.     Do you know if Jason Hemingway is a convicted
  17      felon?
  18           A.     No, I don't.     I saw --
  19                  MR. QUINN:   Object to form.
  20                  THE WITNESS:     -- something somewhere about
  21           him having a criminal past, but I'm not sure to
  22           what extent.
  23      BY MR. WAUGH:
  24           Q.     Do you know if any of the contracts of
  25      employment you reviewed contain sworn or verified

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   1      statements from Wyndham timeshare owners?
   2           A.     I don't recall that they did.
   3           Q.     Do you know how many Wyndham timeshare owners
   4      Montgomery & Newcomb currently represent?
   5           A.     No.
   6           Q.     Do you know how many they have ever
   7      represented?
   8           A.     No.
   9           Q.     Do you believe that the -- actually, strike
  10      that.
  11                  Are you aware of whether or not Patrice Hays
  12      or either Dennis or Sharon Polvak have breached their
  13      financial commitments to Wyndham?
  14           A.     No.
  15           Q.     Do you believe that the materials you have
  16      reviewed for this case from Wyndham timeshare owners
  17      show you a representative sample of Wyndham timeshare
  18      owners who have been represented by my clients?
  19                  MR. QUINN:   Object to form.
  20                  THE WITNESS:     I don't know.
  21      BY MR. WAUGH:
  22           Q.     What information would you need so that you
  23      would be able to know?
  24                  MR. QUINN:   Object to form.
  25                  THE WITNESS:     In order to determine whether

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   1           certain things are representative, I guess you
   2           would have to review an awful lot or most of it.
   3      BY MR. WAUGH:
   4           Q.     Are you familiar with the concept of a sample
   5      size?
   6           A.     Yes.
   7           Q.     What is a sample size?
   8           A.     It's -- I guess it's kind of a statistical
   9      term for a portion of the whole group that is said to
  10      be enough to where if you look at it you can draw
  11      conclusions that generally relate to the whole group.
  12           Q.     Do you know if you have reviewed enough sworn
  13      testimony from Wyndham timeshare owners to have a
  14      sample size in order to determine the nature of the
  15      representation between Montgomery & Newcomb's clients
  16      and Montgomery & Newcomb?
  17                  MR. QUINN:   Object to form.              Faulty premise.
  18                  THE WITNESS:     I'm not sure that I have.
  19      BY MR. WAUGH:
  20           Q.     What information would you need to be sure
  21      that you have?
  22                  MR. QUINN:   Object to form.
  23                  THE WITNESS:     I think it's the same thing I
  24           just said.    You have to look at a large number of
  25           them to determine whether the individual ones you

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   1           were looking at would be consistent with the
   2           others.
   3      BY MR. WAUGH:
   4           Q.     If I told you that my clients represented
   5      1,000 Wyndham timeshare owners, do you think that 2
   6      would be an appropriate sample size?
   7                  MR. QUINN:   Object to form.
   8                  THE WITNESS:     I'm not a statistician, but
   9           it's a small number.         It's a small number.
  10      BY MR. WAUGH:
  11           Q.     If I told you that my clients represented
  12      1,000 Wyndham timeshare owners, would you be able to
  13      infer conclusions from the testimony of 2 owners about
  14      the nature of their relationship with Montgomery &
  15      Newcomb?
  16                  MR. QUINN:   Object to form.
  17                  THE WITNESS:     Speaking in a nonstatistical
  18      sense, I think the information from the two will be
  19      relevant and helpful.        There might be information from
  20      others that would be the same.
  21      BY MR. WAUGH:
  22           Q.     There might be.       Do you know if you'd be able
  23      to come to a statistically significant conclusion?
  24                  MR. QUINN:   Object to form.              It
  25           mischaracterizes his report and the testimony.

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   1                  THE WITNESS:     I was not really asked to
   2           perform a statistical analysis.
   3                  MR. WAUGH:   Sorry.        Let's put this on the
   4           record.    This is for everybody.                The reason why
   5           these kinds of objections are not permitted in
   6           depositions and frowned upon in both federal and
   7           state courts is because they lead the witness.                    So
   8           when an attorney puts on the record that something
   9           mischaracterizes prior testimony or da, da, da,
  10           what that does is it coaches the witness.                  And so
  11           I know it's not going to happen, but I'm going to
  12           ask opposing counsel to please stop coaching the
  13           witness and just use proper objections.                  I'm just
  14           putting it on the record now.              The time is 9:48.
  15           We'll see what happens.           Dean Chinaris --
  16                  MR. QUINN:   So I'm going to respond to that.
  17                  MR. WAUGH:   Please.
  18                  MR. QUINN:   And my response is that you have
  19           not yet asked Mr. Chinaris, Dean Chinaris, for any
  20           of his opinions in this case.              And instead you
  21           have gone on a tangent as to whatever you think
  22           that the opinions might be.             And now you're asking
  23           about statistical sample sizes, which has nothing
  24           to do with any of his opinions or his report.                  And
  25           so you're misleading the tribunal in this instance

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   1           and you're misleading anyone that would read this
   2           transcript as to what his opinions are because you
   3           haven't asked him what his opinions are.                So
   4           that's the basis of the objection.                It
   5           mischaracterizes the testimony, assumes facts not
   6           in evidence, and it mischaracterizes his report.
   7                  So if you want to ask him questions about his
   8           opinions or his report, do so; but to go on some
   9           tangent about sample sizes of information, which
  10           clearly has nothing to do with his report, that's
  11           disingenuous.     So ask him a question about his
  12           actual report or his opinions.
  13                  MR. WAUGH:   This is my deposition, but what
  14           opposing counsel needs to understand is that is
  15           one of the biggest coaching things I have ever
  16           seen in a deposition, No. 1.
  17                  No. 2, when you have an expert witness, you
  18           often have expert opinion testimony and one of the
  19           ways it gets challenged is credibility and another
  20           way it gets challenged is the basis for those
  21           opinions.    So it's all relevant.              It's the reason
  22           why your experts are being excluded currently.
  23           And it's based on these kind of challenges.                  It is
  24           not I who have misunderstood how this is done.                  It
  25           is you.

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   1                  MR. QUINN:   I don't know what you mean by our
   2           experts are being excluded.            Mr. Chinaris has
   3           never been excluded previously, so --
   4                  MR. WAUGH:   Not yet.
   5                  MR. QUINN:   And by the way, and after even --
   6           the other point was, your questioning was
   7           misleading as to that point as well because you
   8           talk about this motion for a Daubert motion.
   9           There's no order attached to that at all.              But
  10           your premise was that he was excluded or giving
  11           him the impression he was excluded, which he never
  12           was.
  13                  MR. WAUGH:   Nope, didn't -- he has not been
  14           excluded, didn't imply it.            I know you guys are
  15           feeling the pressure on that, but it hasn't
  16           happened yet.
  17                  MR. QUINN:   Christian, I know you weren't at
  18           the depositions last week.            Maybe you could ask
  19           your client about what happened there.              So if
  20           anyone is feeling the pressure, it's on your end
  21           that's feeling the pressure.             Okay.   So please
  22           don't game me, please don't game me.              Just ask
  23           your question.
  24                  MR. WAUGH:   You just lost summary judgment on
  25           five counts, man.      Okay.

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   1                  MR. QUINN:   Talk to your partner about why it
   2            is that she would bring up Castle Law and the fact
   3            that the attorneys there were disbarred.            That was
   4            genius testimony that she elicited.
   5                  MR. WAUGH:   Like I said, chess versus
   6            checkers, my friend.
   7      BY MR. WAUGH:
   8            Q.    All right.   Dean Chinaris, let's get back to
   9      it.    All right.   So let's be clear then.           You don't
  10      have any formal training in statistics, do you?
  11            A.    I have taken courses in statistics.
  12            Q.    What kind of courses?
  13            A.    General courses as part of a business
  14      curriculum.
  15            Q.    And is that what enables you to know what a
  16      sample size is?
  17                  MR. QUINN:   Object to form.
  18                  THE WITNESS:     I don't know if it's that or
  19            just general information.
  20      BY MR. WAUGH:
  21            Q.    Do you know what a biased sample and an
  22      unbiased sample is?
  23                  MR. QUINN:   Object to form.
  24                  THE WITNESS:     I could guess, but I can't tell
  25            you I know.

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   1      BY MR. WAUGH:
   2           Q.     Well, I definitely don't want you to guess.
   3      All right.     So when did you review the deposition
   4      transcript of Scott Montgomery?
   5           A.     Probably last week.
   6           Q.     Was it a deposition transcript of him as an
   7      individual or as a corporate representative?
   8           A.     Both.   There were two depositions.
   9           Q.     Did you request to review those depositions
  10      or were they provided to you?
  11           A.     I think a little of both.            I always ask for
  12      any relevant depositions and then these were sent
  13      along.
  14           Q.     And when did you review the deposition
  15      transcript of Todd Newcomb?
  16           A.     About the same time.
  17           Q.     Were the depositions -- well, actually strike
  18      that.
  19                  Have you requested to review the deposition
  20      transcript of any Wyndham owner in this lawsuit?
  21           A.     Not specifically, no.
  22           Q.     Are you aware that there were depositions
  23      taken of Wyndham timeshare owners in this lawsuit?
  24           A.     I was told a while back that there were going
  25      to be some taken.      I'm not aware of what has happened.

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   1            Q.    Do you know if Jason Hemingway is a Defendant
   2      in this action?
   3            A.    I think he was at one point.              I'm not sure if
   4      he still is, but I'm not positive about that.
   5            Q.    Why are you not sure?
   6            A.    I just don't remember.
   7            Q.    Well, I'm going to go to the top of Exhibit 3
   8      and --
   9            A.    Ah.    There he is, yes.         That's where I saw
  10      it.
  11            Q.    Does this refresh your recollection as to
  12      whether or not he's a Defendant in this case?
  13            A.    Yes.    I'm not sure if he still is, but he
  14      certainly was when this suit was filed.
  15            Q.    Are you aware of any settlement agreement
  16      between Wyndham and Jason Hemingway?
  17            A.    No.
  18            Q.    Just one moment, Dean.           I'm reviewing some of
  19      my notes.
  20                  So in the materials that you reviewed in
  21      paragraph -- that you have described in paragraph 18 of
  22      Exhibit 3, do you know if anyone there has a bias
  23      against lawyer defendants?
  24                  MR. QUINN:   Object to form.
  25                  THE WITNESS:     No, I don't.

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   1      BY MR. WAUGH:
   2           Q.     Are you aware of whether or not any other
   3      timeshare developer has obtained a judgment against
   4      Jason Hemingway?
   5                  MR. QUINN:   Object to form.
   6                  THE WITNESS:     No, I'm not aware of that.
   7      BY MR. WAUGH:
   8           Q.     All right.   So Dean Chinaris, what are
   9      ethics?
  10                  MR. QUINN:   Object to form.
  11                  THE WITNESS:     I guess people have different
  12           views of looking at it.           They can be standards of
  13           conduct.    It can be rules of conduct.                It
  14           generally relates to people's conduct.
  15      BY MR. WAUGH:
  16           Q.     Is there a distinction between ethics and
  17      legal ethics?
  18           A.     I think legal ethics are the ethics that
  19      would apply to lawyers and the legal profession.
  20           Q.     Do ethics exist objectively?
  21           A.     Some people would say they do, I guess.                And
  22      objectively in the legal profession they're based on
  23      standards of behavior that are familiar to lawyers,
  24      often codified in rules of conduct.                   It can be set by
  25      court decisions, other authorities.                   I guess they're

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   1      objective in that sense.
   2           Q.     Is it possible for ethics to suggest that
   3      something is right, but for legal ethics to say it's
   4      wrong?
   5           A.     Might be possible.        I'd have to think, try to
   6      come up with an example, but it might be possible.
   7           Q.     Well, is it -- to the best of your knowledge,
   8      is there a complete overlap between what ethics says is
   9      right and wrong and what legal ethics says is right and
  10      wrong?
  11           A.     I think they are pretty consistent, but there
  12      might be differences in the legal ethics rules and how
  13      some people would interpret ethics generally.
  14           Q.     Who determines what the rules are for legal
  15      ethics in the State of Florida?
  16           A.     A variety of sources go into making up what
  17      is ethical conduct of lawyers in Florida.            It starts
  18      with the state supreme court.            That's the dominant
  19      player in that situation.
  20           Q.     Have you ever heard of teleological or
  21      ontological arguments?
  22           A.     I have.
  23           Q.     Do any of those concepts have any relevance
  24      for your testimony today?
  25           A.     I'm not familiar enough with those concepts

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   1      to say.
   2           Q.     Are ethics important for everyone to follow?
   3           A.     Generally, yes.
   4           Q.     Why?
   5           A.     They're standards of behavior, standards of
   6      conduct that help us get along as a society.
   7           Q.     So ethics would be important for both lawyers
   8      and nonlawyers to follow; correct?
   9           A.     Generally, yes.
  10           Q.     Do you think it is -- well, based on your
  11      experience, is it more difficult for ethics to be
  12      followed in a law firm that has 10 people or 100?
  13           A.     I don't know if I could say that there's a
  14      difference.
  15           Q.     Do you know if it's more difficult to
  16      establish quality control for ethics compliance in a
  17      small or a large law firm?
  18           A.     Well, you have more people to worry about in
  19      a large law firm, so it can be maybe more difficult
  20      from that sense, that there is more to watch.
  21           Q.     Have you ever been retained to help implement
  22      ethical practices at a law firm?
  23           A.     Yes.
  24           Q.     Can you tell me about that?
  25           A.     I think it's probably confidential.

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   1           Q.     Is it confidential?
   2           A.     I think it is, yes.
   3           Q.     What law firm was it?
   4           A.     I think that would be confidential.
   5           Q.     You do?   That's interesting.              Why is it
   6      confidential?
   7           A.     Because I was retained in part to give them
   8      advice and I don't think they would want me sharing
   9      that information in a public forum.                  It's information
  10      relating to the representation and that's confidential
  11      under rule 4-1.6 in Florida.
  12           Q.     To be clear, I'm not interested in the
  13      advice.     I'm just interested in the identity of who you
  14      contracted with.      Is that identity confidential?
  15           A.     Yes.
  16           Q.     Under what rule?
  17           A.     4-1.6, Section A.
  18           Q.     All right.   Let's look.
  19                  MR. QUINN:   Christian, could we go off the
  20           record for a second?
  21                  MR. WAUGH:   Yes.
  22                  THE VIDEOGRAPHER:       Going off the record.            The
  23           time is 10:02.
  24                  (A discussion was held off the record.)
  25                  THE VIDEOGRAPHER:       We're back on the record.

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   1            The time is 10:05.      This is media card No. 2.
   2      BY MR. WAUGH:
   3            Q.    All right.   Dean Chinaris, you had previously
   4      testified that you have been retained to help implement
   5      ethical practices at a law firm.              Do you remember that?
   6            A.    Yes.
   7            Q.    And I want to make clear, I'm not interested
   8      in the content of any advice or counsel you have given
   9      anybody on this score.        What I would like to ask you
  10      is:    Can you give me the identity of any law firm for
  11      which you have been retained to do that?
  12            A.    And my answer would be that's confidential.
  13      I get a lot of inquiries and a lot of engagements from
  14      law firms and lawyers to do just that, to look at some
  15      or all of their ethical operations and talk about what
  16      they can do to improve them or what if -- if what
  17      they're proposing would be within the rules.              Ethics --
  18      that is kind of what I do for lawyers and so I don't
  19      think it's appropriate.        I think it is confidential
  20      under the ethics rule, the identity of those peoples
  21      who engage me for those purposes.
  22            Q.    And it's your understanding that it's
  23      confidential under rule 4-1.6A?
  24            A.    Yes.   That defines as confidential all
  25      information relating to the representation of a client

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   1      and that can include their identity.
   2           Q.     Okay.   Has Wyndham ever hired you to review
   3      their sales practices for ethical compliance?
   4           A.     I have never been retained by Wyndham for
   5      anything.
   6           Q.     Well --
   7           A.     So the answer would be no directly, but I'm
   8      trying to go broader.        Not for that or for anything
   9      else.
  10           Q.     I get it.    I mean, do you know how many
  11      salespeople Wyndham employs?
  12           A.     No, I don't.
  13                  MR. QUINN:    Object to form.
  14      BY MR. WAUGH:
  15           Q.     If Wyndham employed 1,000 salespeople and one
  16      of them did something fraudulent with a potential
  17      client, does that mean that the 999 others would also
  18      do the same kind of deceptive practice?
  19                  MR. QUINN:    Object to form.
  20                  THE WITNESS:     Not necessarily.
  21      BY MR. WAUGH:
  22           Q.     You're a member of what state bars?
  23           A.     Florida, Alabama, Tennessee, and Texas.
  24           Q.     When did you become a member of the Texas
  25      Bar?

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   1           A.     1984.
   2           Q.     When did you become a member of the Alabama
   3      State Bar?
   4           A.     I think it was 2009.
   5           Q.     What about the Tennessee Bar?
   6           A.     I believe it was 2014.
   7           Q.     What was the purpose of joining the Alabama
   8      and Tennessee State Bars?
   9           A.     I was teaching at law schools in those states
  10      and wanted to be a member of the state bar.
  11           Q.     Is it a requirement of teaching law in a
  12      particular state that one also be a member of that
  13      state bar?
  14           A.     No.   I'm not aware of any requirement to that
  15      effect.
  16           Q.     Is it ethical to represent a client in a
  17      lawsuit when both the lawyer and the client know that
  18      the client will lose the lawsuit?
  19                  MR. QUINN:   Object to form.
  20                  THE WITNESS:     It might be.             It might not be.
  21           It depends on other facts I guess.
  22      BY MR. WAUGH:
  23           Q.     What does it depend on?
  24                  MR. QUINN:   Object to form.
  25                  THE WITNESS:     Perhaps there's a biased judge

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   1           or jury.       So you might know you're going to lose
   2           even though you have a case that would have a
   3           chance to win in a different situation.
   4      BY MR. WAUGH:
   5           Q.      Okay.    So would it be fair to say that if the
   6      NAACP represented a discriminated business owner in
   7      1952, Ocala, Florida, and knew the judge was biased and
   8      that they were going to lose the lawsuit, that that
   9      representation was not unethical?
  10                   MR. QUINN:    Object to form.             Move to strike.
  11                   THE WITNESS:     That might be a good example.
  12      BY MR. WAUGH:
  13           Q.      All right.    In Exhibit 3 you -- which is your
  14      report -- you mention both Florida and Missouri rules
  15      often.      And I'm going to show you a couple examples.
  16      I'm going to scroll down just right here to paragraph
  17      20 --
  18           A.      Sure.
  19           Q.      -- A.    Do you have a -- can you see this on
  20      your screen?
  21           A.      Yes, and I also have a copy of it that I
  22      printed out.
  23           Q.      All right.    I don't care which version you
  24      look at.      Do you see paragraph 20A in front of you?
  25           A.      Yes.

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   1           Q.     And you appear to reference both Florida
   2      Rules of Professional Conduct and the Missouri Rules of
   3      Professional Conduct regarding lawyers not being
   4      permitted to share legal fees with nonlawyers; is that
   5      correct?
   6           A.     Yes.
   7           Q.     Why do you reference both and not one or the
   8      other?
   9           A.     A couple of reasons, I guess.               One, I'm not
  10      sure which rules the Court will determine to apply, so
  11      just trying to provide information.                  And, two, to show
  12      that basically they are essentially the same for all
  13      material purposes.
  14           Q.     Is it your understanding that you'd be
  15      providing opinion testimony for Plaintiffs in this case
  16      during Plaintiff's case in chief?
  17           A.     We haven't talked about that.
  18           Q.     Okay.   Is it your understanding that you
  19      would be providing opinion testimony to defend against
  20      my client's Clayton Act claim?
  21           A.     We haven't talked about that.
  22           Q.     Are you aware of any evidence that my clients
  23      instructed any Wyndham timeshare owner to stop paying
  24      their financial obligations to Wyndham?
  25                  MR. QUINN:   Object to form.

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   1                  THE WITNESS:     I'm not -- I can't think of any
   2           off-hand, direct evidence to that from your
   3           clients directly, no.          And you're talking about
   4           the lawyer?     That's who --
   5      BY MR. WAUGH:
   6           Q.     Yes.
   7           A.     All right.
   8           Q.     Okay.   I'm now going to put Exhibit 5 into
   9      the Dropbox.
  10                  (Defendant Exhibit 5 was marked for
  11           identification.)
  12      BY MR. WAUGH:
  13           Q.     It is now placed in the Dropbox.             It's a copy
  14      of the complaint in this lawsuit.               All right.   Dean
  15      Chinaris, can you see a document that has the case
  16      No. 8:19-cv-1895 with Document 1 at the top?
  17           A.     Yes.
  18           Q.     All right.   And it's styled as a complaint
  19      for damages and injunctive relief.                Are you aware of
  20      whether or not you have seen this document before just
  21      based on what I have shown you so far?
  22           A.     Well, it's not the same number as the
  23      document I have in front of me here.
  24           Q.     Well, what's the document number that you
  25      have in front of you?

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   1           A.     Case 6:18-cv-02121-ACC-CKRS.              It's got the
   2      same filed date.
   3           Q.     Okay.
   4           A.     And the same number of pages, which is
   5      interesting.
   6           Q.     I think I know what's going on.              But does it
   7      say Complaint for Damages and Injunctive Relief on it?
   8           A.     Yes.
   9           Q.     Does it show the same parties on that page?
  10           A.     It seems to as far as what I can see there.
  11           Q.     And is it against the Montgomery Law Firm,
  12      Montgomery & Newcomb, M. Scott Montgomery, and W. Todd
  13      Newcomb?
  14           A.     Yes.    Yes.   So it looks like the same
  15      parties.
  16           Q.     Okay.    All right.      I would like to ask you to
  17      turn to paragraph 7 and when you get there, please
  18      review the paragraph and let me know when you're done.
  19           A.     Yes.    I'm done.
  20           Q.     First of all, is this one of the documents
  21      that you reviewed in the preparation of your expert
  22      report?
  23           A.     It looks like the same text as what I have
  24      here, yes.
  25           Q.     Well, let me modify the question a little

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   1      bit.    Is the document that you have in front of you a
   2      document that you reviewed before preparing your expert
   3      report?
   4           A.     Yes.    Yes.
   5           Q.     Are you aware of whether or not this lawsuit
   6      was initially filed in the Orlando division or the
   7      Tampa division?
   8           A.     No.    I don't really remember talking about
   9      that, but it might have been mentioned at one point.
  10      I'm just not sure.
  11           Q.     Did you finish reviewing paragraph 7?
  12           A.     Yes, I did.
  13           Q.     What is your understanding of what the
  14      Wyndham Ovation program is?
  15           A.     Just from what I read, it sounds like a
  16      program for, I guess for lack of a better word,
  17      redeeming or cancelling a timeshare contract.
  18           Q.     Have you reviewed any documents that would
  19      help you assess whether or not paragraph 7 is true or
  20      false?
  21           A.     Well, to some degree, yes.                I have seen
  22      documents indicating fees charged by the exit companies
  23      and --
  24           Q.     Have you seen documents indicating the fees
  25      that Montgomery & Newcomb receive?

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   1           A.     Yes.    I have seen testimony to that effect.
   2           Q.     Okay.
   3           A.     And I have seen the fee contracts, but they
   4      refer to contingent fee percentages, not dollar
   5      figures, from what I remember.
   6           Q.     Okay.    In this second sentence, have you
   7      reviewed any documents that would help you assess
   8      whether the second sentence of paragraph 7 is true or
   9      false?
  10           A.     I have seen those statements made, but
  11      that's -- I haven't seen any underlying documents to
  12      that effect.
  13           Q.     What documents or what statements have you
  14      seen that indicate consumers could have used the
  15      Wyndham Ovation program?
  16           A.     Well, I have seen allegations in pleadings.
  17           Q.     Okay.    So when you say that you have seen it
  18      in documents, you mean in pleadings?
  19           A.     That includes pleadings, yes.
  20           Q.     Okay.    Are you aware of how a consumer could
  21      avail themselves of the Wyndham Ovation program?
  22           A.     No.    Not specifically.
  23           Q.     Do you know if it would be a legal service to
  24      recommend that someone use Wyndham's Ovation program?
  25                  MR. QUINN:   Object to form.

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   1                    THE WITNESS:     I think if they contacted the
   2           company directly, that's between them and the
   3           company.
   4      BY MR. WAUGH:
   5           Q.       Here's my question.         My question is:        Would
   6      it be a legal service for someone to recommend to
   7      someone else that they use Wyndham's Ovation program?
   8           A.       I doubt it.
   9           Q.       Let's go back to Exhibit 3.               Are you good,
  10      Dean?       Do you need a break at all?
  11           A.       Shortly.   So whenever you all are ready.
  12           Q.       Well, why don't we do that?               Why don't we
  13      take -- how much time do you need?
  14           A.       Four or five minutes.
  15           Q.       Okay.   Why don't we come back at 10:30 and
  16      reconvene.
  17                    THE VIDEOGRAPHER:        Going off the record.           The
  18           time is 10:20.
  19                    (A recess was taken.)
  20                    THE VIDEOGRAPHER:        We're back on the record.
  21           The time is 10:32.
  22      BY MR. WAUGH:
  23           Q.       Welcome back.
  24           A.       Thank you.
  25           Q.       Dean Chinaris, are you aware of whether or

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   1      not my clients have ever succeeded in obtaining a
   2      cancellation from any of the Plaintiffs for one of
   3      their clients?
   4           A.     I have seen their representations to that
   5      effect.     That's all.
   6           Q.     And have you seen or heard of any other
   7      representations to the contrary?
   8           A.     No.
   9           Q.     Do you have an expert opinion on -- no.
  10      Strike that.
  11                  Are you aware of any evidence that reflects
  12      the percentage of my client's clients who obtained a
  13      cancellation from a timeshare developer after hiring my
  14      clients?
  15           A.     No.
  16           Q.     Does it matter to you what the percentage
  17      would be?
  18           A.     I think for the opinions that I rendered, I
  19      don't think it would be relevant.
  20           Q.     Okay.   Back to Exhibit 3.           I'm now scrolling
  21      down to paragraph 20, subparagraph C.                Do you see that
  22      paragraph?
  23           A.     Paragraph 20C?
  24           Q.     Yes, sir.
  25           A.     Yes, I do.

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   1           Q.     Can you take a moment to review that and let
   2      me know when you're done.
   3           A.     Yes.    I'm done.
   4           Q.     Why did you cite cases from Ohio and South
   5      Carolina, but not from Florida?
   6           A.     Those cases I think most directly explain the
   7      principle that I was referring to here.
   8           Q.     Are you aware of any similar cases in
   9      Missouri that would show that principle?
  10           A.     No, I'm not aware of any.
  11           Q.     Let's talk about the Ohio case.           Do you
  12      remember the main reason the lawyer was suspended in
  13      that case?
  14           A.     Well, there were several ethics allegations
  15      that involved that lawyer, so I don't know if you can
  16      point to one as the main one, but --
  17           Q.     Because there were so many violations, can
  18      you be sure that the six months suspension was due to
  19      the sharing of fees?
  20           A.     No.    No.   But the opinion makes the statement
  21      that it was the sharing of fees.
  22           Q.     Do you remember if the lawyer contested or
  23      stipulated to the fee-sharing violation?
  24           A.     I believe it was what we call in Florida a
  25      consent judgment type of thing, an agreed disposition.

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   1           Q.       Are you aware of whether or not the
   2      disciplined lawyer stipulated to the fee-sharing
   3      violation?
   4           A.       I can only presume so, because that is what
   5      he was disciplined for.
   6           Q.       Now, let's talk about the South Carolina
   7      case.       Do you remember how many rules the lawyer was
   8      accused of violating in that case?
   9           A.       No.   I think there were more than just the
  10      fee sharing though.
  11           Q.       Does six ring a bell?
  12           A.       I don't remember specifically.          There were
  13      more than the fee sharing one.
  14           Q.       If there was more than one, can you be sure
  15      that the nine months suspension was due to the fee
  16      sharing violation?
  17           A.       No.   I'm not sure what the nine months was
  18      for, one or all.        But the opinion makes the statement
  19      that the fee sharing occurred in the matter described.
  20           Q.       Are you aware of whether or not the
  21      disciplined lawyer in that case contested or stipulated
  22      to the violation?
  23           A.       I don't remember about that case.
  24           Q.       Did you look for a case in Florida that
  25      articulated these same principles?

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   1           A.     I generally looked for cases that would deal
   2      with this.     There are some others, but I don't have one
   3      from Florida that comes to mind.
   4           Q.     Let's look at paragraph 20, subparagraph D,
   5      which I think is -- it's only this paragraph.             Can you
   6      review this paragraph and let me know when you're done.
   7           A.     It's paragraph D?
   8           Q.     Yes, sir.
   9           A.     Yes.    I'm done.
  10           Q.     Are you aware of any representations made by
  11      any TPE defendant that it would sue Wyndham on behalf
  12      of a timeshare owner?
  13           A.     I think that was the thrust of their entire
  14      market scheme.
  15           Q.     Are you aware of any specific representations
  16      made by any TPE defendant that it would sue Wyndham
  17      itself on behalf of a timeshare owner?
  18           A.     No.    It wasn't that specific in the
  19      advertisement.
  20           Q.     Are you aware of any specific representation
  21      by any TPE defendant that such TPE defendant would seek
  22      arbitration against Wyndham on behalf of a timeshare
  23      owner?
  24           A.     No.
  25           Q.     Are you aware of any specific representation

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   1      by any TPE defendant that it would seek to mediate the
   2      timeshare owner's dispute directly with Wyndham on
   3      behalf of the timeshare owner?
   4           A.       No.
   5           Q.       In this second sentence it says, "Analyzing a
   6      customer's legal relationship with the timeshare
   7      company and advising about or assisting the customer
   8      with relief from these legal obligations is the
   9      performance of legal services."              Do you see that?
  10           A.       Yes.
  11           Q.       Are you aware of any evidence in which a TPE
  12      defendant directly advised a customer about its legal
  13      obligations to Wyndham?
  14           A.       I think that's what they were advertising for
  15      and discussing at the seminars, the road shows,
  16      whatever you want to call them.              The in-person
  17      presentations.
  18           Q.       Okay.   And so it's your contention that the
  19      evidence you've seen -- well, actually, let me ask you
  20      that.       So what evidence have you seen regarding the
  21      representations made at sales presentations?
  22           A.       I have seen some of the statements.         I think
  23      they were mentioned in those declarations that we went
  24      -- that we discussed earlier.
  25           Q.       All right.   I'm now going to show you

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   1      paragraph 7 from the complaint again.                 I'm pulling it
   2      up.    Do you see paragraph 7 on your screen, Dean
   3      Chinaris?
   4            A.    Yes.    There it is.
   5            Q.    The second sentence -- in particular, I would
   6      like to direct your attention to the second sentence.
   7      Is it your understanding that a Wyndham timeshare owner
   8      could resolve its issue by itself or by themselves
   9      simply by contacting Wyndham?
  10            A.    That's what it says here.
  11            Q.    Do you have any reason to know whether that's
  12      true or false?
  13            A.    No.    I don't -- I don't have much further
  14      information about that.
  15            Q.    Would it be the provision of legal services
  16      if a timeshare owner gave a nonlawyer neighbor of
  17      theirs power of attorney and asked that neighbor to
  18      help them get out of the timeshare?
  19                  MR. QUINN:   Object to form.
  20                  THE WITNESS:     If the nonlawyer neighbor
  21            advertised and made the statement that they could
  22            do that and then what followed was the giving of
  23            the power of attorney, I think that would be.
  24      BY MR. WAUGH:
  25            Q.    So the key in that scenario is the

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   1      advertisement?
   2           A.     I think it's the key in a lot of this, is the
   3      holding out that they could provide a service that is
   4      essentially a legal service.
   5           Q.     So if that person -- if that neighbor in that
   6      scenario had so advertised as you suggest and then they
   7      get the power of attorney, would they also be guilty of
   8      the unlicensed practice of law if that took place in
   9      the State of Florida?
  10                  MR. QUINN:   Object to form.
  11                  THE WITNESS:     I think so, yes.
  12      BY MR. WAUGH:
  13           Q.     Are you aware of any potential forthcoming
  14      amendments to Florida Rule of Professional Conduct
  15      4-5.4?
  16           A.     There have been discussions.              I wouldn't call
  17      them forthcoming.
  18           Q.     What are those discussions about?
  19           A.     To amend the rules to allow nonlawyers to --
  20      well, to allow lawyers to share legal fees with
  21      nonlawyers, to pay referral fees, and maybe even to
  22      allow nonlawyers to own law firms or own portions of
  23      law firms.     Those have been discussed.
  24           Q.     In fact, you have written or highlighted
  25      those potential -- those discussions on your sunEthics

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   1      website; correct?
   2           A.     I did a summary of the report that referred
   3      to those, yes.
   4           Q.     Would any of those potential amendments, if
   5      passed, alter your opinion on or -- anything in your
   6      expert opinion here?
   7           A.     Well, if we changed the standard of conduct
   8      that is allowed, then, yeah, my opinion would have to
   9      be reexamined to reflect the new standards.
  10           Q.     All right.    I'm saving or copying what I will
  11      propose as Exhibit 6 into the Dropbox.
  12                  (Defendant Exhibit 6 was marked for
  13           identification.)
  14      BY MR. WAUGH:
  15           Q.     Actually, I'll renumber it.              All right.    Dean
  16      Chinaris, I'm now showing you a document styled Final
  17      Report to the Special Committee to Improve the Delivery
  18      of Legal Services.       Do you see this document?
  19           A.     Yes, I do.
  20           Q.     What is the Special Committee to Improve the
  21      Delivery of Legal Services?
  22           A.     It was a committee that was appointed --
  23      well, that was created by the Florida Supreme Court to
  24      look at ways that rules might be changed or new
  25      programs might be adopted to address the improvement of

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   1      delivery of legal services in the sense of making it
   2      easier for people who need legal services to get them.
   3           Q.     Did you decline to serve on this committee?
   4           A.     No.
   5           Q.     Who are the people who are listed here on
   6      this page?
   7           A.     Those were people that were appointed -- my
   8      understanding is -- I could be wrong because I wasn't
   9      involved, but I think that John Stewart, the chair of
  10      the committee, former bar president, appointed people
  11      that he wanted on the committee and I'm not sure
  12      whether they were -- those appointment were blessed
  13      directly by the supreme court or whether he was just
  14      authorized to do that by the court ahead of time.
  15           Q.     Okay.
  16           A.     I think they were his appointees.         That's my
  17      understanding.
  18           Q.     Have you had any professional relationships
  19      with anyone listed on this page?
  20           A.     Yes.
  21           Q.     Do you know all of them?
  22           A.     No.
  23           Q.     Okay.   Who is John Harkness?
  24           A.     John Harkness is the former executive
  25      director of the Florida Bar.           He retired a few years

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   1      ago.
   2           Q.     Have you had a professional relationship with
   3      him?
   4           A.     Yes.   He was actually executive director when
   5      I worked at the bar and I have known him since then.
   6           Q.     And this appears to be a 109-page document.
   7      It seems rather long.        Have you reviewed this?
   8           A.     Yes, I have.     I am afraid to say I have.
   9      Hopefully we won't do that right now, but --
  10           Q.     Sir, I have seen every Star Trek episode
  11      about ten times, so nothing about your life can compare
  12      to how -- just the detail and sad minutiae of mine.
  13      Let me --
  14                  MR. WAUGH:   Move to strike.              That was
  15      inappropriate.
  16      BY MR. WAUGH:
  17           Q.     Dean Chinaris, is this the document that you
  18      were referring to earlier that discussed potential
  19      changes?
  20           A.     Yes.
  21           Q.     And one of the rules, though not the only
  22      rule that may be changed or that's being considered for
  23      changes, is Rule 4-5.4; correct?
  24           A.     Correct.
  25           Q.     What is -- are you aware -- do you have any

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   1      knowledge of whether or not any of these potential
   2      changes are going to be considered by the Florida
   3      Supreme Court?
   4           A.     The report was submitted to the Florida
   5      Supreme Court.      The Florida Supreme Court has asked the
   6      Florida Bar Board of Governors for input as to what the
   7      board thinks.      So I -- I can only assume that the Court
   8      will take all that into account and make a decision as
   9      to what, if anything, to do.           That's the way they
  10      normally do things with rules.
  11           Q.     Have you provided any input on these
  12      potential changes to either the board of governors or
  13      the Florida Supreme Court?
  14           A.     Yes.   I wrote a letter to the board of
  15      governors with my personal opinions.
  16           Q.     What were your personal opinions?
  17           A.     My personal opinions -- it's a -- to
  18      summarize, my personal opinions are I think we should
  19      start with less drastic steps to address some of these
  20      changes because I don't think there's really any
  21      evidence that allowing nonlawyers to own law firms, for
  22      example, will change anything as far as making legal
  23      services more available to people that need them.              I
  24      think there's other ways to get there without taking
  25      the last kind of final step of opening it up to the

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   1      nonlawyers.     That's just my personal opinion.
   2           Q.     Do you know when the Florida Rule of
   3      Professional Conduct that prohibits nonlawyers from
   4      owning portions of law firms, whether in whole or in
   5      part, was adopted?
   6           A.     Well, the current rules adopted as part of
   7      the rules that were adopted in 1986 when the Rules of
   8      Professional Conduct were adopted.               And I believe in
   9      the prior code of professional responsibility there was
  10      similar language; although, it's been a while since I
  11      have looked at that.
  12           Q.     Are you aware of whether or not there was a
  13      study performed regarding the effect of either having
  14      nonlawyer owners or not having nonlawyer owners and the
  15      quality of legal representation that was provided?
  16           A.     I think there have been studies in other
  17      states.     I don't know if there's any in Florida.             I'm
  18      not sure what you're asking about.               Oh.   There have
  19      been discussions at a prior committee of the board of
  20      governors.     I guess a special committee that they set
  21      up to look at a variety of aspects of legal services.
  22      And one of the committees there talked about potential
  23      nonlawyer ownership.
  24           Q.     Were you involved in the drafting or creation
  25      of the rule that prohibits celebrity advertising for

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   1      law firms in the State of Florida?
   2           A.       I don't remember.        I have dealt with that
   3      rule.       And the rule has a convoluted history, so I
   4      don't remember at what point I was there or not there.
   5      But that rule in its current form has not been there
   6      that long, but prior iterations mentioned use of
   7      endorsements of celebrities.              So the rule's been around
   8      for a while.         So I may have.       I just don't remember.
   9           Q.       Customarily before a Rule of Professional
  10      Conduct is adopted in the State of Florida, does the
  11      Florida Bar or the Florida Supreme Court engage in
  12      detailed statistical analysis of what the effects of
  13      such a rule adoption will be?
  14           A.       I'd probably say no to that.              I don't think
  15      that's a normal course of action for rule changes.
  16           Q.       All right.     I'm going back to Exhibit 3.           I
  17      am scrolling down to paragraph 22A and it seems to
  18      encompass two pages.          So, Dean Chinaris, could you
  19      please take some time to review 22A and let me know
  20      when you're done.
  21           A.       Yes.    I'm done where I can see.
  22           Q.       Okay.    Let me scroll down and I'm
  23      representing to you that these four lines are the
  24      continuation of your paragraph.                Can you please --
  25           A.       Yes.    Yes.

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   1           Q.     In this paragraph is it your expert opinion
   2      that lawyer defendants had a potential conflict or an
   3      actual conflict?
   4           A.     Well, I think at minimum there was a
   5      potential conflict.      I think they probably also had an
   6      actual conflict.
   7           Q.     Because I see the words, "The lawyer
   8      defendants' interest in maintaining their lucrative
   9      relationship with the TPE Defendants potentially
  10      conflicted with the ethics duties owed to the unit
  11      owners."     And then, "Accordingly, the lawyer defendants
  12      had a personal interest conflict."               So I'm getting
  13      confused between what appears to be you saying they
  14      have a potential conflict and here are you saying they
  15      have an actual conflict in the next sentence?
  16           A.     Well, I think the answer is ultimately, yes,
  17      but probably not for the reasons -- the way it's
  18      indicated there.      The way the rules address conflicts
  19      is if you are in a situation for personal interest
  20      conflict, if you're in a situation where your loyalties
  21      may be conflicted, that's viewed as a conflict of
  22      interest that triggers the rules that require
  23      disclosure and consent.
  24                  Now, you may be somebody who doesn't actually
  25      act on that potential conflict and in reality your

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   1      loyalties aren't limited, but because of the fact that
   2      you're looking at the situation, somebody would think
   3      that they possibly or that they likely could be, that
   4      is something that triggers the requirements of
   5      disclosure or consent under the conflict rules.
   6                  I think here there's information that shows
   7      they actually -- that the lawyer defendants actually
   8      did have such a conflict.          So I think they're both
   9      correct.     I hope that helps.        I don't know.
  10           Q.     Okay.    I'm going to copy this I guess as
  11      Exhibit 7.     And it's a copy of the rules themselves.            I
  12      just want to talk about them.
  13                  (Defendant Exhibit 7 was marked for
  14           identification.)
  15      BY MR. WAUGH:
  16           Q.     So I'm going to show you what I believe to be
  17      a current copy of our Rules of Professional Conduct.
  18      At 4-1.7.
  19           A.     Yes, I see it.
  20           Q.     And this is the rule you just referred to in
  21      discussing paragraph 22A of your expert report;
  22      correct?
  23           A.     Yes.    That's the Florida version.
  24           Q.     When I heard it, and I really would like you
  25      to correct me, but the way I heard it is that if

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   1      subsection A is triggered, then a lawyer must take
   2      action under subsection B; is that correct?
   3           A.     If the lawyer wants to represent the client
   4      or continue representing the client, correct.
   5           Q.     Okay.    So let's talk about subsection A.         Do
   6      you know -- is it your expert opinion that any
   7      representation of -- sorry.           Strike that.
   8                  Is it your expert opinion that any
   9      representation by Montgomery & Newcomb of a Wyndham
  10      timeshare owner was directly adverse to another client
  11      that Montgomery & Newcomb had?
  12           A.     No.    I'm referring to --
  13           Q.     Okay.    So you're referring to subsection 2
  14      for purposes of your report?
  15           A.     Correct.
  16           Q.     All right.   Okay.      And so it's your expert
  17      opinion that there was a substantial risk that the
  18      representation of one or more clients by lawyer
  19      defendants would be materially limited by the personal
  20      interest of the lawyer?
  21           A.     Yes.
  22           Q.     Not the responsibility to another client, the
  23      former client or a third person, but, rather, by a
  24      personal interest?
  25           A.     Not as to clients or former clients.          A third

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   1      person perhaps, yes.       The TPE Defendants.       But I think
   2      that's also part of a personal interest conflict.
   3           Q.     What were the lawyer defendants'
   4      responsibilities to a TPE Defendant?
   5           A.     Well, keeping the relationship, the referral
   6      relationship, viable.       You could look at that.
   7           Q.     Are you aware of whether or not the
   8      relationship between lawyer defendants and any of its
   9      TPEs in this lawsuit still exist today?
  10           A.     I'm not sure if they -- any or all of them
  11      exist today.     I think I saw that some of them have
  12      ceased.
  13           Q.     Are you aware of whether or not the clients
  14      that those TPEs referred to my clients are still
  15      clients of my clients today?
  16           A.     I'm not positive about that.
  17           Q.     If my clients continued to represent all of
  18      the clients that were referred to them after
  19      terminating their referral relationships with the TPEs,
  20      would that conflict that you have identified in Rule
  21      4-1.7 still exist?
  22           A.     Well, I think it existed at the outset and
  23      wasn't addressed.
  24           Q.     My question was --
  25           A.     I don't think it's been cured by the fact

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   1      that the relationship has ended.              It doesn't undue the
   2      initial conflict.
   3           Q.     And my question was:         Does the conflict still
   4      exist today?
   5           A.     I think there's still a conflict of interest
   6      that was not properly dissolved.
   7           Q.     Would you say -- is it your expert opinion
   8      that even if those TPE relationships and referral
   9      relationships do not exist today, that there is still a
  10      substantial risk that my clients' continued
  11      representation of their referrals are materially
  12      limited by their responsibilities to the TPEs?
  13           A.     Well, I don't think you can look at it that
  14      way.    I think you have to look at it as how the client
  15      got to the lawyer and if the clients signed up with the
  16      lawyer when there was a conflict on the part of the
  17      lawyer that wasn't disclosed to the client, I think
  18      that taints the whole representation.
  19           Q.     But would the lawyer defendants still have a
  20      personal interest that is an actual conflict today?
  21           A.     I think so in the sense that they're keeping
  22      the client that they got by not complying with the
  23      conflict.
  24           Q.     Is it your expert opinion based on -- strike
  25      that.

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   1                  Based on the materials that you have reviewed
   2      in this lawsuit, do you believe that the TPEs were
   3      trustworthy?
   4                  MR. QUINN:    Object to form.
   5                  THE WITNESS:     I don't have an opinion about
   6           that.
   7      BY MR. WAUGH:
   8           Q.     So you haven't seen enough evidence to know
   9      whether or not the TPEs were trustworthy to their
  10      clients?
  11                  MR. QUINN:    Object to form.
  12                  THE WITNESS:     I have seen allegations that
  13           they were not.
  14      BY MR. WAUGH:
  15           Q.     Have you seen evidence that suggests lawyer
  16      defendants were not trustworthy to their clients?
  17           A.     Yes.   In the sense of not, for example,
  18      dealing with disclosure of conflict.                  If you want to
  19      characterize that as not trustworthy.
  20           Q.     Well, okay.     And it's your testimony that
  21      based on the evidence then, the lawyer defendants
  22      failed to inform their clients of potential and actual
  23      conflicts of interest?
  24                  MR. QUINN:    Object to form.             Leading.
  25                  THE WITNESS:     Yes.

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   1      BY MR. WAUGH:
   2           Q.     Do you know if lawyer defendants ever lied to
   3      their clients?
   4                  MR. QUINN:   Object to form.              Asked and
   5           answered.
   6                  THE WITNESS:     I don't know if they
   7           affirmatively lied to their clients.
   8      BY MR. WAUGH:
   9           Q.     Based on your review of the evidence in this
  10      case are you able to represent whether or not my
  11      clients were honest with their clients?
  12                  MR. QUINN:   Object to form.
  13                  THE WITNESS:     I don't think they fully
  14           disclosed things that should have been disclosed.
  15      BY MR. WAUGH:
  16           Q.     Let's go back to Exhibit 3.               And I'm looking
  17      at paragraph 22B, which I think is Page 8 of your
  18      report.
  19           A.     Yes.
  20           Q.     It's the first part of it anyways.               Do you
  21      have it in front of you?
  22           A.     Yes.
  23           Q.     Okay.   Can I ask you just to review that
  24      paragraph and let me know when you're done.
  25                  MR. QUINN:   Christian, when you get to a

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   1           stopping point, could we take a five-minute?
   2                  MR. WAUGH:   Actually, let's do it now.             I
   3           feel comfortable with that.
   4                  MR. QUINN:   It doesn't have to be now, but if
   5           that's what you choose.
   6                  MR. WAUGH:   It's better for me.            Is five
   7           minutes okay?
   8                  MR. QUINN:   It's fine for me.
   9                  MR. WAUGH:   All right.         We'll come back at
  10           11:10.
  11                  THE VIDEOGRAPHER:       Going off the record.           The
  12           time is 11:05.
  13                  (A recess was taken.)
  14                  THE VIDEOGRAPHER:       We're back on the record.
  15           The time is 11:10.
  16      BY MR. WAUGH:
  17           Q.     Dean Chinaris, would you please review
  18      paragraph 22B of your report and let me know when
  19      you're done.
  20           A.     Yes, I'm done.     I reviewed it earlier.
  21           Q.     Okay.    Now I'm reviewing it.           Oh.   Let me
  22      share it.     Sorry.   Are you -- have you reviewed any
  23      evidence that shows interference from the TPEs in
  24      lawyer defendants' representation of their clients?
  25           A.     Yes.    I think there was some evidence of

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   1      that.
   2           Q.     What was the evidence?
   3           A.     Well, the information that was discussed, I
   4      think this was in Mr. Newcomb's deposition, regarding
   5      the practice of unit owner clients stopping payments
   6      that they owed to the timeshare companies and whether
   7      the lawyer defendants had taken any steps to try to
   8      keep the exit companies from giving that advice.
   9                  And it was -- it seemed from reading the
  10      deposition and looking at materials that that advice
  11      was not given by lawyer defendants or that request was
  12      not given by the lawyer defendants to the exit
  13      companies.     And, yet, Mr. Newcomb testified that it was
  14      better for those payments to keep being made.
  15                  And so you raise the question, why wouldn't
  16      the lawyer defendants go to the exit companies and say
  17      hey, don't give this advice, make sure you give the
  18      opposite advice if you're going to say anything at all,
  19      and that kind of thing.        And I think that indicates
  20      that there is interference, at least passive
  21      interference, with advice that the lawyers would have
  22      given to somebody who wasn't dealing with the exit
  23      companies.     And why were they reluctant to give that
  24      advice?     The only conclusion I could see is because
  25      they wanted to keep their relationships with the exit

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   1      companies viable.
   2           Q.     Before you reviewed the -- well, in addition
   3      to the deposition of Todd Newcomb, you mentioned other
   4      materials that showed this.           What other materials were
   5      there?
   6           A.     I think there were some e-mails of clients, I
   7      think to the law firm, asking about this and not really
   8      getting direct advice as to the benefits of making
   9      these payments.     Just that they were told well, bad
  10      things can happen if you don't.
  11           Q.     Were those e-mails exhibits to the Newcomb
  12      deposition?
  13           A.     I think I saw them somewhere else, but I
  14      think they were also exhibits too.               I could be wrong
  15      about that.
  16           Q.     In your Materials Reviewed it doesn't show
  17      any e-mails.     So that's why I'm trying to figure it
  18      out.
  19           A.     Yeah, unless they were attached to some of
  20      those other materials.        I mean, there may have been
  21      some random documents in the file that didn't -- that I
  22      didn't list, but -- so maybe they were part of the
  23      Newcomb deposition.      I think they were, but I seem to
  24      recall seeing them somewhere else, but I could be
  25      mistaken about that.       I looked at a lot of material.

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   1           Q.     Yeah.    Okay.     Can I ask you to look at
   2      paragraph 22C and let me know when you're done.
   3           A.     Yes.    I'm done.
   4           Q.     You described credit protection service.
   5      What credit protection service are you referring to?
   6           A.     This came from a declaration for one of the
   7      TPE Defendants.       I don't know whether it was Hemingway
   8      or Chavez, indicating that that had happened; but other
   9      than that, I didn't see any information indicating that
  10      a separate service had been started.                    So that may not
  11      be correct.     But I -- this was based on the information
  12      I had at the time I prepared the report.
  13           Q.     Would you have the same expert opinion in
  14      this paragraph if the lawyer defendants offered a
  15      credit protection service through their law firm and
  16      not through another entity?
  17           A.     I wouldn't call it a 4-1.1A conflict, no.                 I
  18      would probably -- if I was going to address it, point
  19      to it under the general conflict rule for traditional
  20      settings I guess.
  21           Q.     And what would the general conflict be in
  22      that instance?
  23           A.     Well, I think -- again, if these people
  24      had -- it kind of goes back to what I was just saying.
  25      If the clients had problems by not making payments, one

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   1      of the ways that should have been used to try to
   2      address that was for the lawyer defendants to go to the
   3      exit company people and try to get them to stop giving
   4      that advice or make it clear that that information be
   5      given, rather than sitting by while it's being given
   6      and then charging clients a special fee to correct the
   7      outcome of that advice.
   8           Q.       What evidence are you aware of that lawyer
   9      defendants knew the TPEs were giving that kind of
  10      advice to stop paying?
  11           A.       I think some of it's those e-mails I
  12      mentioned.
  13           Q.       All right.   Let's look at paragraph 23, the
  14      flush paragraph 23, but also sub A if you could.
  15           A.       Okay.   Okay.     I'm on it.
  16           Q.       Is it your opinion that the reason why --
  17      actually, strike that.
  18                    Let me review this paragraph a little closer.
  19      Okay.       Is it your expert opinion that the lawyer
  20      defendants were responsible for the content and effect
  21      of TP [sic] advertising, that the TPE advertising was
  22      for legal services?
  23                    MR. QUINN:   Object to form.
  24                    THE WITNESS:      I think that's part of it and
  25           the clients were generated by that advertising.

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   1      BY MR. WAUGH:
   2           Q.     So if the TPE advertisements had not been for
   3      legal services but were still the link for lawyer
   4      defendants obtaining clients, it would still run afoul
   5      of the Florida Rules of Professional Conduct?
   6                  MR. QUINN:   Object to form.
   7                  THE WITNESS:     I think they would still be
   8           responsible for it and whether the advertising ran
   9           afoul or not, you'd have to look at the
  10           advertising.     If it was false and misleading as
  11           this was, yes, that would be a problem.
  12      BY MR. WAUGH:
  13           Q.     So if the TPEs had promulgated websites with
  14      just a web link to Montgomery & Newcomb's sign-up page,
  15      and Montgomery & Newcomb knew that they were getting
  16      clients from that link, is it your contention that
  17      under the Rules of Professional Conduct, Montgomery &
  18      Newcomb is responsible for the content of that website
  19      that just contains the link?
  20                  MR. QUINN:   Object to form.
  21                  THE WITNESS:     Right.       Because it's being used
  22           to generate clients and they know it is.            And it's
  23           generating significant numbers of clients.            It's
  24           being done on their behalf.
  25

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   1      BY MR. WAUGH:
   2           Q.     Is that true regardless of whether or not
   3      Montgomery & Newcomb blesses it or condones it
   4      expressly?
   5           A.     I don't think it has to be expressed.          I
   6      think it was condoned, at least implicitly here, by
   7      continuing to accept the large numbers of clients that
   8      came from that source.
   9           Q.     Are you aware of whether or not lawyer
  10      defendants ever turned down any referrals from TPEs?
  11           A.     I am not aware one way or the other on that.
  12           Q.     All right.   Paragraph 24 is where I'm headed
  13      next and this is quite a ways down in the report.              Page
  14      14, I believe.      Let me know when you're there.
  15           A.     Yes.   I'm there.
  16           Q.     Can you please review the flush language of
  17      paragraph 24 and then subsection A.
  18           A.     Yes.
  19           Q.     I am very interested in this rule.          Is it --
  20      is it accurate to say that under this rule -- and I
  21      mean Florida Rule of Professional Conduct 4-7.1AA --
  22      that if I meet -- if I as a Florida lawyer meet someone
  23      at, you know, the Nike shoe store at the mall and it
  24      comes up in a conversation that I'm a lawyer, that I am
  25      unable to solicit that stranger for legal services?

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   1           A.     Yes.   That's how the Florida Bar interprets
   2      the rule.
   3           Q.     Is it possible in that kind of a factual
   4      scenario for the stranger to hire the lawyer -- strike
   5      that.
   6                  What are the facts that would need to exist
   7      when a lawyer meets a stranger, for the stranger to be
   8      able to hire that lawyer at the same time that they
   9      meet?
  10           A.     The initiation would all have to come from
  11      the client.
  12           Q.     And --
  13           A.     Unless it's one of those exceptions in the
  14      rule like relatives.
  15           Q.     Right.   Forgetting the exceptions, would the
  16      lawyer be prohibited from just telling the stranger
  17      that she or he is a lawyer?
  18           A.     Well, not if it's in response to, "What do
  19      you do for a living?"       "I'm a lawyer."          I think that
  20      would be perfectly fine.
  21           Q.     So after that question, if the stranger says
  22      I need to hire a lawyer, that would not be prohibited
  23      under the rule if that lawyer was then retained?
  24           A.     Under that exchange, I think that would be
  25      okay, yes.

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   1           Q.     Okay.   All right.      I'm just trying to tease
   2      it out.     I'm not trying to get free legal advice
   3      although this has been a learning opportunity.
   4           A.     Well, that's the way the bar looks at it and
   5      they'll tell you that if you call the hotline.             I know
   6      things happen in life sometimes.
   7           Q.     In your report you write that this
   8      prohibition exists so that potential clients will not
   9      be subjected to coercion or undue influence on the part
  10      of lawyers who are trained and skilled in the art of
  11      persuasion.
  12           A.     Yeah.   That's what the Supreme Court said in
  13      that Orella case as a reason for prohibiting in-person
  14      solicitation.
  15           Q.     All right.   Let's look at paragraph 25.          Can
  16      you review it and let me know when you're done.
  17           A.     Yes.
  18           Q.     How are you able to determine -- how are you
  19      able to render an expert opinion in the form of that
  20      second sentence based on the evidence you reviewed?
  21           A.     The allegations and some of the information
  22      indicated that the clients were not properly getting
  23      information, for one thing.           As I saw later, the
  24      lawyers didn't really talk to the client.            They had
  25      their staff do it, which may or may not be proper

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   1      communication depending on what the problem is.              And
   2      also the idea -- again, they're not telling the clients
   3      of the relationship and that I think is something that
   4      they need to know, that the clients need to know, in
   5      order to make informed decisions about is this a good
   6      decision for me to sign up with this exit company and
   7      work with these lawyers.
   8           Q.     Do you know how many timeshare owner clients
   9      the lawyer defendants have?
  10           A.     I have seen anywhere from 3,000 to 4,500
  11      stated, so I'm not sure of the specific number.
  12           Q.     Have you reviewed lawyer defendants' complete
  13      set of communications with the 3,000 to 4,500 timeshare
  14      owner clients they have?
  15           A.     Certainly not.
  16           Q.     All right.      And then I'm going down to
  17      paragraph 27.       Yeah.    So I would like to ask you to
  18      review all of 27 and its subparts and when you're done,
  19      please let me know.
  20           A.     Okay.    I have reviewed that.
  21           Q.     Based on your review of the evidence, do you
  22      consider the TPE Defendants a threat to the public?
  23           A.     To the timeshare owner, probably, yes.
  24           Q.     Do you consider unlicensed -- the unlicensed
  25      practice of law to be a serious violation of Florida

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   1      law?
   2           A.     I know it's a felony.          So the legislature
   3      considers it important/serious.
   4           Q.     Well, I'm asking what you think.          Do you
   5      think it's serious?
   6           A.     Well, I think it is.         I think it affects the
   7      clients that deal with them.           It can affect others and
   8      how they view the legal profession and lawyers.              So I
   9      think it has an effect, a negative effect.
  10           Q.     Do you feel the same way about lawyer
  11      defendants, that they're a threat to the public?               Or,
  12      I'm sorry, the timeshare-owning public.
  13           A.     Well, I think they have fallen through as to
  14      the standard that they are supposed to follow as
  15      lawyers.     I mean, I don't know what you mean by threat
  16      in the sense that there's certainly no physical harm or
  17      anything like that, but I think the clients have --
  18      they ensure change in the sense of what they should be
  19      expecting from lawyers.
  20           Q.     Well, do you recall in your expert opinion
  21      whether or not you come to a conclusion about whether
  22      or not the lawyer defendants have engaged in the
  23      unlicensed practice of law?
  24           A.     Yes.   I think that's in the prior paragraphs.
  25           Q.     So you -- it's your expert opinion that the

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   1      lawyer defendants have committed a felony?
   2           A.     No.   I'm not going to opine on that.             That's
   3      a legal question I haven't been asked to analyze.
   4           Q.     Okay.   So you haven't formed an expert
   5      opinion about that?
   6           A.     No.
   7           Q.     But you are aware that the unlicensed
   8      practice of law is a felony in the State of Florida?
   9           A.     Well, in Florida and some type of misdemeanor
  10      in Missouri, I think.
  11           Q.     Are you incapable of forming a conclusion as
  12      to whether or not lawyer defendants' conduct, based on
  13      your review of the evidence, constitutes a felony in
  14      the State of Florida?
  15           A.     I haven't been asked to do that, so I haven't
  16      done that.
  17           Q.     I know you haven't been asked.              I'm asking
  18      you if you're able to come to a conclusion about that?
  19                  MR. QUINN:   Object to form.
  20                  THE WITNESS:     Not right now.           I suppose I
  21           could if I studied the matter.
  22      BY MR. WAUGH:
  23           Q.     But have you reached an expert opinion as to
  24      whether or not lawyer defendants have violated any
  25      Florida Rule of Professional Conduct regarding the

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   1      unlicensed practice of law?
   2                  MR. QUINN:   Object to form.              Asked and
   3           answered.
   4                  THE WITNESS:     The Rules of Professional
   5           Conduct don't really define the practice of law or
   6           whether it's unlicensed practice of law, so it's
   7           really more as you see here, the Supreme Court
   8           case law and in some cases rules, outside of the
   9           Rules of Professional Conduct.
  10                  So I think in view of the professional norms
  11           in Florida, and that is what my conclusion is
  12           based on, and then I think they have practiced law
  13           in Florida without a license.
  14      BY MR. WAUGH:
  15           Q.     Do you recall how many different Rules of
  16      Professional Conduct in the State of Florida you have
  17      reached an expert opinion that lawyer defendants
  18      violated?
  19           A.     No.
  20           Q.     Is it more than one?
  21           A.     My opinion is not that they have violated
  22      these rules or have violated these rules.                  These rules
  23      indicate what the standards of conduct are and what
  24      standards of conduct for ethical lawyers and lawyers
  25      acting to the appropriate level of conduct are.                   And so

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   1      that's really what my opinion is based on.                These are
   2      illustrations that -- the rules show that, for example,
   3      in Missouri and in Florida, the authorities share the
   4      view that you don't split legal fees with nonlawyers
   5      that don't advertise legal services if you're not a
   6      lawyer or in states that you're not licensed to
   7      practice in, those type of things.                That's the purpose
   8      of the rules, in my opinion.
   9           Q.     So are you unable to reach an expert opinion
  10      about whether or not the lawyer defendants have
  11      violated any Florida Rules of Professional Conduct?
  12                  MR. QUINN:   Object to the form.
  13                  THE WITNESS:     I could reach that, sure.
  14      BY MR. WAUGH:
  15           Q.     Have they done so?
  16                  MR. QUINN:   Object to form.
  17                  THE WITNESS:     Well, yeah, I think so.          I
  18           think we just talked about, for example, the
  19           conflict.    Whether it's the Missouri rule or the
  20           Florida rule, the outcome is pretty much the same.
  21      BY MR. WAUGH:
  22           Q.     Based on that conclusion, do you have an
  23      obligation to file a bar complaint against lawyer
  24      defendants with the Florida Bar?
  25           A.     No.

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   1           Q.       Why not?
   2           A.       They're not members of the Florida Bar, among
   3      other things.
   4           Q.       What about the Missouri Bar?
   5           A.       I don't believe I have an obligation to file
   6      a complaint with the Missouri Bar either.               I'm not a
   7      member of the Missouri Bar.
   8           Q.       Do you believe that they have violated
   9      Missouri Rules of Professional Conduct?
  10           A.       Again, I think that's beyond the scope of my
  11      report, but it appears from facts that there's a strong
  12      case for it.
  13           Q.       All right.   Let's look at what your report
  14      says.       Let's go to paragraph 25.          Let me know when
  15      you're there.
  16           A.       I'm there.
  17           Q.       Let's see.   Have you reviewed both Florida
  18      Rule of Professional Conduct 4-1.4 as well as Missouri
  19      Rule of Professional Conduct 4-1.4 in forming your
  20      expert opinion in this paragraph?
  21           A.       I cited to those and I reviewed those.          They
  22      are evidence that in an ethical and proper
  23      attorney-client relationship there is meaningful
  24      attorney-client communication.
  25           Q.       Do you know how many Rules of Professional

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   1      Conduct from Missouri you reviewed in forming your
   2      expert opinion?
   3           A.     I have reviewed all the ones that are listed
   4      there, but I don't have a count of how many there are.
   5           Q.     Are all the ones that you reviewed and which
   6      were a part of the basis for forming your expert
   7      opinions described here in Exhibit 3?
   8           A.     I think the ones I thought were most relevant
   9      would be listed in there as examples of the standards
  10      in Missouri, yes.
  11           Q.     All right.   So I'm just about at the end.           If
  12      we can take a five-minute break so I can just review my
  13      notes and see if I have anything else.               I would suggest
  14      that we come back at 11:40 unless there's an objection.
  15                  MR. QUINN:   Okay.
  16                  MR. WAUGH:   Okay.      I'll see you guys back in
  17           five minutes.
  18                  THE VIDEOGRAPHER:       Going off the record.       The
  19           time is 11:35.
  20                  (A recess was taken.)
  21                  THE VIDEOGRAPHER:       We are back on the record.
  22           The time is 11:42.
  23      BY MR. WAUGH:
  24           Q.     Dean Chinaris, I believe near the beginning
  25      of the deposition you testified that you had reviewed

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   1      the expert opinion provided by Michael Downey and the
   2      related Bluegreen case.          Was that accurate?
   3           A.       Yes.    I have read it.
   4           Q.       Did anything you read in that report alter
   5      your own expert opinions in this case?
   6           A.       No.    Not that I remember anyway.
   7           Q.       Are you familiar with Rule 4-5.5 regarding
   8      the unlicensed practice of law?
   9           A.       Yes.
  10           Q.       And do you think it applies in this case at
  11      all?
  12           A.       Well, I thought I mentioned that.        I don't
  13      think it applies here to authorize the lawyer
  14      defendants' activities in Florida based on what I have
  15      seen.       I suppose there are situations if they had, for
  16      example, a Missouri client that they retained through
  17      proper advertising and had some dealings with Wyndham.
  18      I think then they could maybe rely on that as the rule
  19      you mention, as allowing their contacts with Wyndham
  20      and their demands.
  21           Q.       Have you invoiced your work to Wyndham in
  22      this case so far?
  23           A.       I had an initial up-front invoice.
  24           Q.       What was the amount?
  25           A.       $5,000.

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   1           Q.     Do you know how much you expect to invoice up
   2      to this point on this case?
   3           A.     Well, the $5,000 covered the first ten hours
   4      of work and I probably have another eight or ten in
   5      from there, so probably about the same amount.             I
   6      haven't added it up yet.
   7           Q.     Is there anything that you can recall now
   8      that would -- you would like to change your answers to
   9      reflect during this deposition?
  10           A.     Not that I can recall.          Maybe if I read it, I
  11      would have a different opinion, but I don't think so.
  12           Q.     Well, I appreciate your time, Dean Chinaris
  13      and that concludes my portion of the deposition.
  14                  MR. QUINN:   Okay.      I have a few questions.
  15                            CROSS-EXAMINATION
  16      BY MR. QUINN:
  17           Q.     Professor Chinaris, thanks for your time this
  18      morning.
  19           A.     Thank you.
  20           Q.     I wanted to cover, first of all, a little bit
  21      more about your professional background.             Specifically,
  22      counsel had gone over, attached as an exhibit, your CV,
  23      but only really went over your education to ask whether
  24      or not there were specific legal ethics training
  25      related to the three degrees that you received.              Do you

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   1      recall that testimony?
   2           A.     Yes.
   3           Q.     Can you provide some additional specifics as
   4      to your professional background in the legal ethics
   5      arena.
   6           A.     Well, briefly, I was the ethics director of
   7      the Florida Bar from 1989 to 1997 where I was in charge
   8      of the ethics hotline that we talked about.                  I -- since
   9      leaving the bar, I have been on the Professional Ethics
  10      Committee pretty much continuously except for the time
  11      they make you sit out in terms of term limits.                  I have
  12      chaired the committee.        I have chaired the Standing
  13      Committee on Professionalism.            I have been on that
  14      committee.     I have been on the Supreme Court Commission
  15      on Professionalism.      I have been a specialist and
  16      consultant for the bar.        Once I had left the bar, I
  17      worked on some matters for the bar.                  And I have taught
  18      legal ethics in law schools pretty much continuously
  19      since 1997 when I left the bar.
  20                  I have been on ethics committees in other
  21      states.     I am the vice chair of the Tennessee Ethics
  22      and Professional Responsibility Committee now.                  I have
  23      been the chair of the Disciplinary Rules and
  24      Enforcement Committee in Alabama when I was there.                  I
  25      am still on the Alabama UPL Committee and I have

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   1      represented I don't know how many lawyers, advising
   2      them, representing them in bar matters and other
   3      matters on ethics.
   4                  I get calls every day from lawyers who have
   5      questions, either people that know me or clients or
   6      just people that have been -- that I knew when I was
   7      working on the ethics hotline.             So they still track me
   8      down and ask questions.        So I deal with professional
   9      ethics every day and I have done so pretty much for the
  10      last 30 years, 35 years, I guess.              Time passes, right?
  11           Q.     So specifically with regard to your time in
  12      the academia -- you said starting in 1997 you began
  13      teaching classes on legal ethics?
  14           A.     Yes.   I have been teaching ethics and
  15      professional responsibility classes at law schools
  16      since 1997.     I teach other classes too, but that's my
  17      main area.     Published articles and coauthored a book in
  18      Florida on ethics.
  19           Q.     Are attorneys or students who want to take a
  20      bar exam and become an attorney, when they go to law
  21      school, is it typical for law students to take classes
  22      on legal ethics?
  23           A.     Yes.   They're required to take one class on
  24      professional responsibility.           We also have an elective
  25      in -- what do you call it -- applied legal ethics that

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   1      I teach and people can take that also as an elective.
   2      But everybody has to take the professional
   3      responsibility course.
   4           Q.     And where have you taught legal ethics at?
   5      What schools?
   6           A.     I started at Florida Coastal in Jacksonville.
   7      From there I went to Appalachian School of Law in
   8      Virginia and then to Faulkner University in Alabama,
   9      and then since 19 -- or 2014, I have been here at
  10      Belmont.
  11           Q.     Belmont University in Tennessee?
  12           A.     Yes.   And University College of Law in
  13      Nashville.
  14           Q.     Now, speaking about your private practice, do
  15      you provide legal services in the legal ethics arena at
  16      the same time that you're also a professor or was that
  17      during separate times?
  18           A.     Yes.   Well, that's -- the school allows us to
  19      have outside consulting and legal work as long as it
  20      doesn't interfere with our faculty duties.            And so I'm
  21      allowed to do that and I do do that, and I have done
  22      that pretty much continuously since I left the Florida
  23      Bar.    I didn't have any idea that people would call me
  24      up and want my advice for that, but it was nice to know
  25      and I enjoy that.

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   1           Q.     Have you been accepted as an expert in any
   2      court prior to this time?
   3           A.     Yes.    I have been allowed to testify as an
   4      expert in federal court, state court, bar disciplinary
   5      matters, arbitrations, binding and nonbinding, and
   6      different types of civil legal matters.              I have been
   7      asked to be an expert in criminal matters, but I don't
   8      think I have ever actually testified in court on a
   9      criminal ethics matter.
  10           Q.     With respect to your testimony in bar
  11      disciplinary matters, was that related to the
  12      interpretation of legal ethical requirements?
  13           A.     Yes.    I have testified for the bar and for
  14      respondent attorneys who are charged with violations
  15      and the testimonies about the ethics rules that
  16      they're -- either the bar is charging or that the
  17      lawyers are defending.
  18           Q.     Okay.    So as an example, are you saying that
  19      you've test -- that a state bar has asked you to
  20      testify on their behalf regarding a lawyer's ethical
  21      obligations?
  22           A.     Yes.    The Florida Bar.
  23           Q.     And separate from those bar disciplinary
  24      matters, can you tell me a little more about some of
  25      the other federal or state court cases that you have

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   1      handled regarding legal ethics.
   2           A.     There have been disqualification motions.
   3      There have been legal malpractice cases on both sides,
   4      breach of fiduciary duty cases.               There have been trust
   5      account violation cases.           I guess those are
   6      disciplinary cases.      Usually in the civil courts it's
   7      some type of breach of fiduciary duty or legal
   8      malpractice claim.
   9           Q.     Okay.   Do you have -- there was a question
  10      earlier and I think you were just being modest, but
  11      there was a question about the term expertise.               Do you
  12      recall that?
  13           A.     Yes.
  14           Q.     Okay.   With respect to the opinions that you
  15      intend to provide in this case, do you have any
  16      reservation about whether or not you're qualified to
  17      render those opinions?
  18           A.     Oh, no.   No.
  19           Q.     Okay.   So with respect to earlier when you
  20      used the worse expertise, can you just describe that as
  21      to what your reservation there was?
  22           A.     I just don't -- I don't know -- I just -- you
  23      don't routinely describe yourself that way, but I have
  24      been qualified as an expert and held out that way.               And
  25      I guess if what you mean is somebody with specialized

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    1      knowledge and skill and experience in the field, then I
    2      would be considered an expert.
    3           Q.     I'm sorry.   You were trailing off there.
    4      What was --
    5           A.     I said if it's somebody with knowledge and
    6      specialized knowledge and experience in a field, I
    7      would be considered an expert on it.
    8           Q.     Okay.   With respect to legal ethics
    9      generally, can you describe why it is that legal ethics
   10      are important and why it's taught in law schools?
   11           A.     Well, lawyers are people that have in their
   12      hands the important rights and property and interest of
   13      others.     And so I think one of the main reasons is we
   14      want people to understand the conduct standards that
   15      lawyers are held to.      And so they're trained in law
   16      school and required to take CLEs in that once they're
   17      admitted to the bar because you're handling people's
   18      money, you're handling people's rights, even their
   19      liberty if it's a criminal matter.
   20                  So it is important that people know what
   21      they're allowed to do, what they're not supposed to do,
   22      and act accordingly.
   23           Q.     For instance, is that one of the reasons why
   24      the advertisement of legal services is regulated?
   25                  MR. WAUGH:   Object to form.

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    1                  THE WITNESS:     Well, I think there's a couple
    2           of reasons why.     One is the impression of the
    3           legal system that it gives to the public.            People
    4           always point to that.          We don't want the system to
    5           appear one that sells justice or one that's based
    6           on a lottery, that you're automatically going to
    7           get a lot of money if you hire a lawyer or
    8           anything like that.
    9                  But also from the standpoint of the
   10           lawyer-client relationship, it's a fiduciary
   11           relationship, it's an important relationship of
   12           trust and confidence and it should start out on
   13           the right foot.     And that's not by being mislead
   14           into calling a lawyer and then talked into hiring
   15           that lawyer, or even maybe worse, talking to a
   16           nonlawyer and the next thing you know you're being
   17           sent over to a lawyer when you really didn't even
   18           realize that that was part of the arrangement.
   19                  So, yeah, we want people to know what they're
   20           getting into in order for them to make informed
   21           decisions and respect the legal field.
   22      BY MR. QUINN:
   23           Q.     So to the extent that an advertisement of
   24      legal services does not adequately describe the
   25      service, could that potentially be misleading to a

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    1      member of the consuming public that's interested in
    2      receiving those legal services?
    3           A.     Well, or those services that they may or may
    4      not even know are services.            If they're told, hey, I
    5      can do this for you and it's a legal service, like my
    6      opinion is that is in this case, and nonlawyers are
    7      advertising that, I think that really creates problems
    8      all the way down the line from the inception that the
    9      initial retention is based on misunderstanding or even
   10      a false premise.     And that, I think, drives a wedge
   11      between a lawyer and the client from the very outset.
   12      It's not what we would say is the proper way to do it.
   13           Q.     So with respect to that, would that also
   14      include that the initial solicitation or advertisement
   15      would potentially mislead a consumer about what they're
   16      actually paying for?
   17                  MR. WAUGH:   Object to form.
   18                  THE WITNESS:     Oh, yes.        Sure.    That would be
   19           part of it.    If they think they're paying for
   20           something and they're really not getting that,
   21           that's deception.
   22      BY MR. QUINN:
   23           Q.     In other words, your opinion would include or
   24      would be relevant potentially to whether or not
   25      consumers who were pitched this legal services were

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    1      mislead?
    2                  MR. WAUGH:   Object to form.
    3                  THE WITNESS:     I think that's a large part of
    4           it, yes.
    5      BY MR. QUINN:
    6           Q.     Okay.   So for instance, if an attorney were
    7      not permitted to guarantee a result but that a
    8      guarantee was being advertised to that consumer, would
    9      that be something that would be relevant to your
   10      opinion?
   11                  MR. WAUGH:   Object to form.
   12                  THE WITNESS:     Because it would be misleading
   13           and I think, as we discussed earlier, I think
   14           this -- the advertising in this case was being
   15           done on behalf of the lawyers, because it was
   16           offering to free people from a contract.           And that
   17           requires legal services.
   18      BY MR. QUINN:
   19           Q.     To the extent that other testimony in this
   20      case has revealed that the marketing defendants for
   21      timeshare owners with a mortgage, that the sole
   22      solution was to refer them to the attorney, would that
   23      tend to -- would that support your opinion that the
   24      advertising in this case was the advertisement of legal
   25      services?

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    1           A.       I think so.    Certainly, because that's the
    2      only way that they could try to get relief.
    3           Q.       And with respect to your opinion on the
    4      conflict of interest component, do you recall that
    5      testimony?
    6           A.       Yes.
    7           Q.       Would testimony revealing that the timeshare
    8      owners were not advised as to what percentage or
    9      portion of the fee they were paying was actually going
   10      to the lawyer as opposed to the marketing entity, would
   11      that be relevant to your opinion as to the conflict of
   12      interest that existed?
   13           A.       Yes.    And maybe I tried inartfully to address
   14      that.       The idea that this is a financial relationship
   15      and in many cases, if not in most cases, the relief
   16      that the client is seeking can only really come through
   17      a legal service for the nonlawyers who generate the
   18      client, who get the lion's share of the fee.
   19                    It brings up all sorts of questions and I
   20      think that's why the clients need to know about that
   21      relationship, because they might question what those
   22      nonlawyers are doing for this fee and why the lawyers
   23      are working.
   24           Q.       So --
   25           A.       Questions they might ask and then maybe there

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    1      are good answers for them, but they're entitled to be
    2      able to ask those questions.
    3           Q.     Would the ownership of a law firm in and of
    4      itself have any effect on the lawyer's obligation to
    5      the client?
    6           A.     I'm not sure if I understand the question.
    7                  MR. WAUGH:   Object to form.
    8      BY MR. QUINN:
    9           Q.     In other words, there was some discussion
   10      about this fee-sharing component.               Do you recall that?
   11           A.     Yes.
   12           Q.     Okay.   Isn't it accurate that attorneys fees,
   13      at least historically, have been based upon the amount
   14      of work to be performed for the client?
   15                  MR. WAUGH:   Object to form.
   16                  THE WITNESS:     Yeah.      The amount of work, the
   17           amount of the recovery, the value that they bring
   18           to the client, to the services they provide.
   19      BY MR. QUINN:
   20           Q.     Okay.   And for instance, yeah -- in some
   21      instances and specific cases there's a contingency fee,
   22      which is a percentage of the attorney's recovery;
   23      right?
   24           A.     Yes.
   25           Q.     Then in other cases there are hourly fees

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    1      based upon the amount of hours worked by the attorney;
    2      correct?
    3           A.     Yes, or a flat fee based on what the parties
    4      think the service is worth.
    5           Q.     In what scenario in the legal field is it
    6      appropriate for a company to charge a person $40,000
    7      and then provide only 1,000 of those dollars to the
    8      lawyer to perform the actual service?
    9                  MR. WAUGH:   Object to form.
   10                  THE WITNESS:     Well, that brings up the
   11           question, what is it they're getting paid for and
   12           what are they doing to get that money.           And here
   13           it's generating clients.
   14      BY MR. QUINN:
   15           Q.     And if the lawyer in that scenario has
   16      advised the person soliciting the owner not to tell the
   17      owner about the amount of the fees paid to the
   18      marketing company versus the lawyer, would that affect
   19      the conflict of interest analysis that you provided?
   20           A.     Well, that goes back into the idea of
   21      compromised loyalties and personal interest in keeping
   22      that relationship going because of the stream of
   23      clients.     So, yeah, that's part of the conflict
   24      analysis.
   25                  MR. QUINN:   That's all the questions I have.

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    1           Thank you.
    2                  MR. WAUGH:   Am I on mute?            Okay.   I just have
    3           a follow-up question.
    4                         REDIRECT EXAMINATION
    5      BY MR. WAUGH:
    6           Q.     Dean Chinaris, you were just asked a
    7      hypothetical that contained the number $40,000.                 Do you
    8      remember that?
    9           A.     Yes.
   10           Q.     Do you remember the relevant facts of that
   11      scenario?
   12           A.     I think, as I remember it, $40,000 is charged
   13      by the exit company and $1,000 of that is paid to the
   14      lawyer for the lawyer's services.
   15           Q.     Would it change your analysis if that payment
   16      was made to -- by a timeshare owner in order to
   17      extricate that timeshare owner from paying $200,000 to
   18      Wyndham?
   19                  MR. QUINN:   Object to form.
   20                  THE WITNESS:     I don't think it would change
   21           the principles that we're talking about, no.
   22                  MR. WAUGH:   No further questions.
   23                  MR. QUINN:   That reminded me of one other
   24           thing.
   25                           RECROSS-EXAMINATION

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    1      BY MR. QUINN:
    2           Q.     So do you recall the questioning, Professor
    3      Chinaris, earlier regarding this idea of a sample size
    4      of Wyndham owners?
    5           A.     Oh, yes.
    6           Q.     Is it fair that your opinions are based upon
    7      the standard applicable to attorneys?
    8                  MR. WAUGH:   Object to form.
    9                  THE WITNESS:     Yes.      That's what I'm trying to
   10           do here.
   11      BY MR. QUINN:
   12           Q.     Is it fair that those standards are the same
   13      no matter how many Wyndham owners may be part of any
   14      sample size or that had been provided to you?
   15                  MR. WAUGH:   Object to form.              Outside the
   16           scope.
   17                  THE WITNESS:     I think that's true.
   18      BY MR. QUINN:
   19           Q.     I'm sorry?
   20           A.     I think that's true, yes.
   21           Q.     Okay.   Similarly, to the extent that other
   22      witnesses in this case have testified that the
   23      marketing efforts, the content of those marketing
   24      efforts, the advertising was the same for all
   25      consumers, would it make any difference whether or not

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    1      you actually have reviewed the depositions of the
    2      Wyndham owners in this case?
    3           A.     I don't think under those circumstances it
    4      would.
    5           Q.     Mr. Waugh is laughing.         He wasn't at the
    6      previous depositions last week, so --
    7                  MR. WAUGH:   No.    I just love the question.
    8           It helps me.
    9                  MR. QUINN:   Okay.
   10      BY MR. QUINN:
   11           Q.     Have any of your opinions that you've made
   12      here today or -- actually, strike that.
   13                  Let me say it a different way.          The opinions
   14      that are reflected in your report, are they based upon
   15      a sample size of any type of timeshare owner or
   16      consumer?
   17           A.     Not directly.    They're just based on what I
   18      reviewed.
   19           Q.     Okay.   In other words, the premise that
   20      whether or not there's a sample size of Wyndham owners,
   21      that wouldn't affect your opinion, would it?
   22           A.     No.   What we're talking about here is just a
   23      big picture analysis of the relationship and the
   24      activities that the various players were engaged in.
   25                  MR. QUINN:   Okay.     That's all the questions I

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    1           have.    Thank you.
    2                  MR. WAUGH:   Thank you again for your time,
    3           Dean Chinaris.
    4                  THE WITNESS:     Thank you very much.              I
    5           appreciate it.
    6                  THE VIDEOGRAPHER:        We're going off the
    7           record.    The time is 12:06.
    8                  (At this juncture, the following colloquy
    9           took place off the video record.)
   10                  THE COURT REPORTER:         Okay.         Hang on one
   11           second.    Read -- oh, he left.            I was going to say
   12           read or waive.
   13                  MR. WAUGH:   Oh, he's gone.
   14                  THE COURT REPORTER:         Yeah.
   15                  MR. QUINN:   Yeah.       Well, we'll just let him
   16           read since he's not here.
   17                  THE COURT REPORTER:         Read?         Okay.   And then I
   18           have just a couple of spelling questions.                     Well,
   19           first of all, Mr. Waugh, would you like to order?
   20                  MR. WAUGH:   Yes.       Just the transcript.
   21                  THE COURT REPORTER:         And Mr. Quinn?
   22                  MR. QUINN:   We'll take a copy.
   23                  (Deposition concluded at 12:06 p.m.)
   24
   25

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    1                           CERTIFICATE OF OATH
    2
    3      STATE OF FLORIDA
    4      COUNTY OF ORANGE
    5
    6          I, the undersigned authority, certify that TIMOTHY
    7      P. CHINARIS personally appeared before me and was duly
    8      sworn.
    9
   10          WITNESS my hand and official seal this 21st day of
   11      October, 2021.
   12
   13
   14
   15
                                    <%25004,Signature%>
   16                            Lee Ann Reid, Registered
                                 Professional Reporter
   17                            Notary Public - State of Florida
                                 My Commission Expires:           7/16/2023
   18                            Commission No.:           GG 314294
   19
   20
   21
   22
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   25

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    1                           REPORTER'S CERTIFICATE
    2
    3      STATE OF FLORIDA                   :
    4      COUNTY OF ORANGE                   :
    5
    6
                   I, Lee Ann Reid, Registered Professional
    7      Reporter, certify that I was authorized to and did
           stenographically report the deposition of TIMOTHY P.
    8      CHINARIS; that a review of the transcript was requested
           and that the transcript is a true and complete record
    9      of my stenographic notes.
   10              I further certify that I am not a relative,
           employee, attorney, or counsel of any of the parties,
   11      nor am I a relative or employee of any of the parties'
           attorneys or counsel connected with the action, nor am
   12      I financially interested in the outcome of the
           foregoing action.
   13
                   Dated this 21st day of October, 2021, IN THE
   14      CITY OF ORLANDO, COUNTY OF ORANGE, STATE OF FLORIDA.
   15
   16
   17                       <%25004,Signature%>
                          Lee Ann Reid, Registered Professional
   18                     Reporter
   19
   20
   21
   22
   23
   24
   25

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    1                                  ERRATA SHEET
    2      PLEASE ATTACH TO THE DEPOSITION OF TIMOTHY P. CHINARIS
           TAKEN ON OCTOBER 4, 2021, IN THE CASE OF WYNDHAM
    3      VACATION OWNERSHIP, INC., ET AL. V. THE MONTGOMERY LAW
           FIRM, LLC, ET AL.
    4
           PAGE        LINE     CORRECTION AND REASON THEREFOR
    5
    6
    7
    8
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   19
           I HAVE READ THE FOREGOING PAGES AND, EXCEPT FOR ANY
   20      CORRECTIONS OR AMENDMENTS INDICATED ABOVE, I HEREBY
           SUBSCRIBE TO THE ACCURACY OF THIS TRANSCRIPT.
   21
   22
   23      TIMOTHY P. CHINARIS                        DATE
   24
   25      WITNESS TO SIGNATURE                       DATE

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                                                                     Page 113

    1      OCTOBER 22, 2021
    2      TIMOTHY P. CHINARIS
           C/O MICHAEL J. QUINN, ESQUIRE
    3      Shutts & Bowen LLP
           300 S. Orange Avenue, Suite 1600
    4      Orlando, Florida 32801
    5      Re: OCTOBER 4, 2021, DEPOSITION OF TIMOTHY P. CHINARIS
                WYNDHAM VACATION OWNERSHIP, INC., ET AL. V. THE
    6           MONTGOMERY LAW FIRM, LLC, ET AL.
    7      Dear Sir:
    8         This letter is to advise that the transcript of
           the above-referenced deposition has been completed
    9      and is available for review. Please contact our
           office at (800)275-7991 to make arrangements to read
   10      and sign or sign below to waive review of this
           transcript.
   11
              It is suggested that the review of this
   12      transcript be completed within 30 days of your
           receipt of this letter, as considered reasonable
   13      under Federal Rules*; however, there is no Florida
           Statute to this regard.
   14
              The original of this transcript has been
   15      forwarded to the ordering party and your errata, once
           received, will be forwarded to all ordering parties.
   16
                                              Sincerely,
   17
                                       Lee Ann Reid, RPR
   18                                  Veritext Legal Solutions
   19      cc: Christian W. Waugh, Esquire
   20      WAIVER:
           I, _________________ hereby waive the reading &
   21      signing of my deposition transcript.
   22      __________________________      _________________
           Deponent Signature              Date
   23
           *Federal Civil Procedure Rule 30(e)/Florida Civil
   24      Procedure Rule 1.310(e)
   25

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                         FLORIDA RULES OF CIVIL PROCEDURE

                                        Rule 1.310



             (e) Witness Review. If the testimony is

             transcribed, the transcript shall be furnished to

             the witness for examination and shall be read to or

             by the witness unless the examination and reading

             are waived by the witness and by the parties. Any

             changes in form or substance that the witness wants

             to make shall be listed in writing by the officer

             with a statement of the reasons given by the

             witness for making the changes. The changes shall

             be attached to the transcript. It shall then be

             signed by the witness unless the parties waived the

             signing or the witness is ill, cannot be found, or

             refuses to sign. If the transcript is not signed by

             the witness within a reasonable time after it is

             furnished to the witness, the officer shall sign

             the transcript and state on the transcript the

             waiver, illness, absence of the witness, or refusal

             to sign with any reasons given therefor. The

             deposition may then be used as fully as though

             signed unless the court holds that the reasons

             given for the refusal to sign require rejection of
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             the deposition wholly or partly, on motion under

             rule 1.330(d)(4).




             DISCLAIMER:      THE FOREGOING CIVIL PROCEDURE RULES

             ARE PROVIDED FOR INFORMATIONAL PURPOSES ONLY.

             THE ABOVE RULES ARE CURRENT AS OF APRIL 1,

             2019.    PLEASE REFER TO THE APPLICABLE STATE RULES

             OF CIVIL PROCEDURE FOR UP-TO-DATE INFORMATION.
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